Case 1:18-cv-02192-HG-PK   Document 86-24   Filed 04/04/22   Page 1 of 32 PageID #:
                                     2177




                      Exhibit 24
      Case 1:18-cv-02192-HG-PK
Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page160     330       Page 2 of 32 PageID #:
                                             2178




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       Case Case 1:18-cv-02192-HG-PK
            16-2119,                     Document
                     Document 72, 10/21/2016,     86-24
                                              1891945,    Filed of
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Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
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Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page163     330         Page 5 of 32 PageID #:
                                             2181




                         PXG3G6.pdf                                   ABPLC189081
                                                          JA1033
      Case 1:18-cv-02192-HG-PK
Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page164     330                       Page 6 of 32 PageID #:
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Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page165     330       Page 7 of 32 PageID #:
                                             2183




                          PXG3G6.pdf




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page166     330       Page 8 of 32 PageID #:
                                             2184




                          PXG3G6.pdf




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page167     330       Page 9 of 32 PageID #:
                                             2185




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                  Case 1:18-cv-02192-HG-PK
            Case 16-2119,                      Document
                          Document 72, 10/21/2016,       86-24
                                                   1891945,     Filedof04/04/22
                                                            Page168     330              Page 10 of 32 PageID
                                                        #: 2186




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,     Filedof04/04/22
                                                Page169     330       Page 11 of 32 PageID
                                            #: 2187




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,      Filed
                                                Page170  of 04/04/22
                                                            330        Page 12 of 32 PageID
                                            #: 2188




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                                                         JA1040
      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,      Filed
                                                Page171  of04/04/22
                                                            330        Page 13 of 32 PageID
                                            #: 2189




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,     Filedof04/04/22
                                                Page172     330         Page 14 of 32 PageID
                                            #: 2190




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,      Filed
                                                Page173  of 04/04/22
                                                            330                        Page 15 of 32 PageID
                                            #: 2191




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                     Document
              Document 72, 10/21/2016,      86-24
                                       1891945,     Filedof04/04/22
                                                Page174     330       Page 16 of 32 PageID
                                           #: 2192




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,     Filedof04/04/22
                                                Page175     330       Page 17 of 32 PageID
                                            #: 2193




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      Case 1:18-cv-02192-HG-PK
Case 16-2119,                      Document
              Document 72, 10/21/2016,       86-24
                                       1891945,     Filedof04/04/22
                                                Page176     330       Page 18 of 32 PageID
                                            #: 2194




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                                           Case 1:18-cv-02192-HG-PK
                                             Case 16-2119, Document 72,Document  86-24
                                                                        10/21/2016,      FiledPage177
                                                                                    1891945,   04/04/22of 330
                                                                                                           Page 19 of 32 PageID
                                                                                #: 2195




Kingdom of Saudi Arabia
Saudi Committee for the Support of Intifada A1 Quds
General Secretariat - Riyadh
                                                                           List of Names of Martyrs to Substitute the Existing Transfers at the Bank

No.     Form No.        Previous beneficiary                    Funding date     Sum         Name of           ID No.           Governor at e    Date of death   Cause of Death          New beneficiaiy             installment
                                                                                             martyr
1       010107288       Ibrahim Abou Tras                       04/04/2001       1325.64     Ibrahim           9648—57          Jabalia          26/08/2001      Hit by tank artillery   Muhammad Hassan             Ninth
2       010107212       Ibrahim Ahmed [illegible]               01/04/2001       1325.64     Muhammad                                                                                    Muhammad Sharaf
3       010107412       Ibrahim Al-Masri                        04/04/2001       1325.64     Hassan Sharaf
4       0103-48/01      Ibrahim Hassan Abdel Meguid Al-Naggar   23/04/2001       1325.64
5       010110018       Ibrahim Saleh Ibrahim Hanna             07/04/2001       1325.64     Ahmed Atef        967365331        Khan Younis      28/09/2001      Hit by tank artillery   Sanaa Abdel Rehim Ahmed     Ninth
6       010109989       Ibrahim Saqr Abdel Hafez                07/04/2001       1325.64     Youssef                                                                                     Mahdi
7       010110106       Ibrahim Abdel Rahman Allama             07/04/2001       1325.64     [illegible]
8       010107422       Ibrahim Eisa Abdullah                   04/04/2001       1325.64
9       010224946       Ibrahim Fadl Ahmed Abou Teir            23/10            1325.64     Ahmed             -291348-31       Rafah            29/01/2001      Bullets to the body     Muhammad Sobhi Abdel        Ninth
10      010107429       Ibrahim Muhammad [illegible]            2001             1325.64     Muhammad                                                                                    Fattah Awaja
11      010107170       Ibrahim Muhammad Aazern                 01/04/2001       1325.64     Sobhi
12      010907942       Ibrahim Muhammad Salem                  04/04/2001       1325.64     [illegible]
13      010196763       Ibrahim Muhammad Youssed [illegible]    0-/04/2001       1325.64     Akram Abdel       900277-79        Rafah            27/04/2001      Bullets to the body     Ruwaida Hamed Hemda         Ninth
14      01010—7         Ahmed Ibrahim [illegible]               23/06/2001       1325.64     Ja wad Hamza                                                                                Abou [illegible]
15      010107175       Ahmed Ismail Abdel Rahman [illegible]   01/04/2001       1325.64     Abou
16      010282627       Ahmed [illegible] Hemdan                04/05/2001       1325.64     [illegible]
17      010107483       Ahmed Hassan Ahmed Hajj ar               12/09/2001      1325.64     Amin              [illegible]      Rafah            15/08/2001-     Bullets to the body     Muhammad Hemdan             Ninth
18      010107519       Ahmed Hosni Muhammad Hamed              04/04/2001       1325.64     Muhammad                                                                                    Muhammad Abou Hatab
19      010107391       Ahmed Hussein Mustafa                   06/04/2001       1325.64     Hemdan Abou
20      010107560       Ahmed Hamad Abdel Jelil [illegible]     0-/04/2001       1325.64     Hatab
21      010107499       Ahmed Sami Fayyad                       01/0-/2001       1325.64     Iyad Lafi         [illegible]      Rafah            17/10/2001      Explosion               Lafi Youssef Hamed Al-      Ninth
22      010102010       Ahmed Sulaiman Baraka                   —/—/2001         1325.64     Youssed Al-                                                         [illegible]             Akhras [illegible |
23      010107-80       Ahmed Samir Abou [illegible]            -/04/2001        1325.64     Akhras
24      010110051       Ahmed Shaker Adel Al-Damen              07/04/2001       1325.64
25      01036195-       Ahmed [illegible] Sal ah Abou Salah     13/10/2001       1325.64     Inas Samir        92391591-        Rafah            19/08/2002      Hitting houses by       Somaiya Ismail Ahmed        Ninth
26      010107147       Ahmed [illegible] Abdel Aal             04/04/2001       1325.64     Sulaiman                                                            tanks                   Abou Zeid
27      010107510       Ahmed Abdel Rahman Sayed                04/04/2001       1325.64     Abou Zeid
28      010107428       Ahmed Abdullah Al-Khateeb               —/04/2001        1325.64
29      010107498       Ahmed Ali Shoukri                       04/04/2001       1325.64     Belal             912181203        Gaza             21/08/2001      Air raid                Wafaa Ibrahim Jaber Al-     Ninth
30      010320909       Ahmed Omran [illegible]                 23/10/2001       1325.64     [illegible]                                                         assassination           Ghoul
31      010107588       Ahmed Fayez [illegible]                 0-/04/2001       1325.64     Mahmoud Al-
32      010107127       Ahmed Muhammad Hussein                  04/04/2001       1325.64     Ghoul
33      01010751-       Ahmed Muhammad Salama                   0-/0-/2001       1325.64     Yassir Riyadh     905545-2-        Rafah            28/08/2001      Bullets to the body     Riyadh Ouda Muhammad        Ninth
34      010103215       Ahmed Mahmoud [illegible]               13/01/2001       1325.64     OudaZo'rob                                                                                  Zo'rob
35      010107521       Ahmed [illegible] Ammar                 —/—/2001         1325.64
36      010107569       Ahmed Youssef Abdel Kader               04/-/2001        1325.64
37      [illegible]     [illegible]                             —/04/2001        1325.64     [illegible]        [il legible]    [illegible]      [illegible]     [illegible]             [illegible] Abdel Fattah    Ninth
38      010107452       Ad ham Youssef Mustafa                  [illegible]      1325.64                                                                                                 Khali 1 [illegible]
39      010122721       Osama Awad Muhammad [illegible]         22/0-/2001       1325.64
40      010170072       Osama Walid Ahmed [illegible]           —   /
                                                                    0 4/
                                                                       20 0 1    1325.64
41      010282514       Islam Muhammad Hassan [illegible]        13/09/2001      1325.64     Khaled            406-21-5-        Rafah            27/09/2001      Bullet in the face      Wafaa Hussein Muhammad      Ninth
42      01011—3         Ismail Ibrahim [illegible]              07/04/2001       1325.64     Mahmoud                                                                                     Abou Habib
43      -—7548          Ismail [illegible] Sulaiman             04/04/2001       1325.64     Muhammad
44      010-07622       Ashraf Abdel Meguid Omar                04/04/2001       1325.64     Abou Habib
45      0101-6743       Ashraf Ghaleb Salama                    --/—/2001        1325.64     Khaled            [illegible]      Rafah            [illegible]     Bullets to the body     Taghreed Khali 1 Abdel      Ninth
46      [illegible]     [illegible]                             04/-/2001        1325.64     Mustafa                                                                                     Halim AI-Shiekh Khalil
47      010181523       Akram Abdel Rahman Atteya [illegible]   [illegible]      1325.64     Abdel Fattah
48      [illegible]     [illegible]                             [illegible]      1325.64     [illegible]
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                                       Case 1:18-cv-02192-HG-PK
                                         Case 16-2119, Document 72,Document  86-24
                                                                    10/21/2016,      FiledPage178
                                                                                1891945,   04/04/22of 330
                                                                                                       Page 20 of 32 PageID
                                                                            #: 2196




No.   Form No.       Previous beneficiary                      Funding date   Sum        Name of martyr     ID No.        Govemorate    Date of death   Cause of Death          New beneficiary              installment
49    [illegible]    Alexander [illegible]                     05/04/2004     1325.64    Olfat Saber        [illegible]   Rafah         23/01/2001      Bullet 500 to the       Saber Salim Abdullah         Ninth
50    [illegible]    [illegible]                               [illegible]    1325.64    Salim Shehata                                                  chest and neck          [i Ilegible]
51    0101017153     Amgad Amin Muhammad Ouda                  —/—/2001       1325.64
52    010196-877     Amgad Sultan Mahmoud Al-Astal             23/06/2001     1325.64
53    010107023      A m g a d Alaa Darwish                    04/01/2001     1325.64    Sami Samir         [illegible]   [illegible]   30/08/2001      Shrapnel of tank        Samir Muhammac Youssef      'Ninth
54    010107165      Amgad Maged Saleh                         04/05/2001     1325.64    Muhammad                                                       artillery               Baroud
55    010107611      A m n a Eid Abou Saffein                  --/—/2001      1325.64    Baroud
56    010107074      A m i r Arafat Ghalwash                   —/--/2001      1325.64
57    010107582      Amir Maged Al-Fou li                      -/01/2001      1325.64    Sulaiman Samir     [illegible]   Rafah         19/08/2001      Hitting houses with     Somaia Ismail Ahmed Abou     Ninth
58    010107566      Amin Youssef Hassan                       04/04/2001     1325.64    Sulaiman                                                       tanks                   Zeid
59    [illegible]    [illegible]                               [illegible]    1325.64    [illegible]
60    010107571      Anwar Saleh Hained                        04/04/2001     1325.64
61    0103209—       Anwar Muhammad Muhammad [illegible]       22/10/2001     1325.64    Samir Sulaiman     [illegible]   Rafah         19/08/2001      Hitting houses wi th    Somaia Ismail Ahmed Abou     Ninth
62    010103652      Anwar Naeim Zayed                         04/04/2001     1325.64    Al-Abd Abou                                                    tanks                   Zeid
63    010282713      Eyad Akram Ibrahim Ashour                 12/06/2001     1325.64    Zeid
64    010110090      Eyad Hussein [illegible]                  03/04/2001     1325.64
65    010282501      Eyad Awad Ibrahim                         13/06/2001     1325.64    Sayed Salim        [illegible]   Gaza          02/10/2001      Bullets to the head     Hanaa Muhammad               Ninth
66    010107518      Eyad Muhammad Khalil Farahat              03/04/2001     1325.64    Mahmoud                                                                                [illegible]
67    010106098      Eyad Muhammad Mahmoud Maarouf             07/04/2001     1325.64    [illegible]
68    010107080      Eyad Mustafa Sal im                       04/04/2001     1325.64
69    010107900      Aya Moemen Abou Shakra                    04/04/2001     1325.64    Shadi Jad Karim    [illegible]   Khan Younis   28/01/2001      Hit by tank artillery   Jad Karim Sulaiman Hassan    Ninth
70    010107601      Ayman Ahmed Sulaiman                      04/04/2001     1325.64    Sulaiman Abou                                                                          Abu Lafi
71    010107285      Ayman Ali Khalil                          04/04/2001     1325.64    Lafi
72    010107611      Ayman Mosbah Ibrahim                      04/04/2001     1325.64
73    010107551      Ihab Abou Halawa                          04/04/2001     1325.64    Sal ah Hussein     [illegible]   Al-Bere ij    09/10/2001      Bullet to the head      Hassan Salem [illegible]     Ninth
74    010182735      Ihab Mustafa Omar Aasi                     13/09/2001    1325.64    Salem Abou                                                                             Abou Deeb
75    010108792      Basel Muhammad Ibrahim                    05/0-/2001     1325.64    Deeb
76    010108814      Barakat Abdel Hamid                       05/0-/2001     1325.64
77    010198803      Barakat Farhan Ali [illegible]            24/-/2001      J 325.64   Amer Hamdi         [illegible]   Al-Maghazi    -2/08/2001      Bullets to the head     Hamdy Moussa Ghaleb          Ninth
78    010108799      Bassam Ahmed Safi                         05/08/2001     1325.64    [illegible]                                                    and abdomen             Zeyada
79    010198518      Bassam Ahmed Muhammad Hussein             24/0-/2001     1325.64
80    010107196      Bassam [illegible] Khaled                 04/04/2001     1325.64
81    010108832      Bassam Zakareyya Sherif                   05/04/2001     1325.64    Abdel Rahman       [illegible]   Al-Bere ij    08/10/2001      Bullets to the head     Hanan Hassan Sulaiman        Ninth
82    010108818      Bassam A w w a d A w w a w d a            05/04/2001     1325.64    Ahmed                                                                                  Abou Arabyan
83    010282516      Bashar Abdel Latif Amer Jaber              12/09/2001    1325.64    Muhammad
84    010109111      Boshra Ibrahim Said [illegible]           —/04/200I      1325.64    Abou Arabyan
85    010125646      Bashir Youssef Ibrahim To uta             29/04/2001     1325.64    Abdel Rahman       [illegible]   Khan Younis   17/08/2001      Bullets to the body     Muhammad Jumaa               Ninth
86    01010955-      Tamer Yasser Ammar                        —/04/2001      1325.64    Muhammad                                                                               Muhammad Abou Bakra
87    010108824      [illegible] Khalil Arkoub                 05/—/2001      1325.64    Jumaa Abu
88    010198999      Taghreed Jehad Ahmed Abu Nasr             24/06/2001     1325.64    Bakra
89    010325255      Tawfik Muhammad Abdel Aziz [illegible]    22/10/2001     1325.64    Abdel Salam        [illegible]   Rafah         17/09/2001      Bullets to the body     Rawheya Ismail Ali Hassan    Ninth
90    010108826      Tayseer AI i Al-Masri                     05/-/2001      1325.64    Muhammad
91    010108888      Tayseer Ali Hassan                        05/-/2001      1325.64    Ahmed Hassan
92    010108849      Tayseer Youssef Touta                     05/-/2001      1325.64
93    010-08830      Thaer [illegible]                         05/04/2001     1325.64    Abdullah Ouda      [illegible]   Jabalia       01/10/2001      Bullets to the body     Aisha Muhammad Ahmed         Ninth
94    -—8852         Thaer Ramadan Atta                        05/04/2001     1325.64    Ahmed Shaaban                                                                          [illegible]
95    010108811      Thaer Muhammad Noman [illegible]          05/04/2001     1325.64
96    010325216      Jabr Hammad Sulaiman Abou Jazar           23/10/2001     1325.64
92-   01032361-      Jalal Ahmed Abdel Hafez Kadry             21/10/2001     1325.64    Abdullah           [illegible]   Gaza          08/10/2001      Bullet to the head      Muhammad Assad Helmi         Ninth
98    010108914      Jalal Fakhry Assaf                        05/04/2001     1325.64    Muhammad                                                                               Al-Afranji
99    010159590      Jamal Abdullah Mahmoud Abou [illegible]    13/09/2001    1325.64    Asaad Al-Efranji
100   010109577      Jamal Jamil [illegible]                   05/04/2001     1325.64
       [illegible]
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                                      Case 1:18-cv-02192-HG-PK
                                        Case 16-2119, Document 72,Document  86-24
                                                                   10/21/2016,      FiledPage179
                                                                               1891945,   04/04/22of 330
                                                                                                      Page 21 of 32 PageID
                                                                           #: 2197




No.   Form No.       Previous beneficiary                     Funding date   Sum       Name of martyr      ID No.        Govemorate    Date of death   Cause of Death         New beneficiary               installment
101   010008908      Jamal Ali Abdel Aziz                     05/04/2001     1325.64   Ezzeldin            [illegible]   Rafah         -/01/2001       Bullets to the body    Mahmoud Muhammad Eisa         Ninth
102   [illegible]    Jamal Muhammad [illegible]               [illegible]    1325.64   Mansour                                                                                Abdel Rahman
103   010-10172      Jamal Muhammad Youssef Taha              07/04/2001     1325.64   Muhammad
104   [illegible]    Jamal Muhammad Youssef Yassin            07/04/2001     1325.64   Abdel Rahman
105   010108911      Jamal Ibrahim [illegible]                05/04/2001     1325.64   Alaa Sulaiman       [illegible]   Rafah         26/08/2001      Missile bombing        Sulaiman Hussein Abou        '.Ninth
106   010110175      Jamil Ayman Ahmed Abdel Kerim            07/04/2001     1325.64   Hussein Abou                                                                           Bakra
107   010109587      Jamil Hassan [illegible]                 05/04/2001     1325.64   Bakra
108   010101925      Jehad Ismail Yassin                      05/04/2001     1325.64
109   010107210      Hatem Salama Ibrahim Abou Sohaiban       0-/04/2001     1325.64   [illegible]         [illegible]   Deir El       27/--/2001      [illegible]            [illegible]                   Ninth
110   010109596      Hamed Sulaiman Abou Tyour                05/04/2001     1325.64                                     Bal ah
111   [illegible]    [illegible]                                             1325.64
112   010325175      Hamed Wahbi Abdel Wahab Al-Najjar        23/10/2001     1325.64
113   01018—         Hazem Ibrahim [illegible]                -2/09/2001     1325.64   Emadeldin Atta      [illegible]   Khan Younis   15/09/2001      Bullet to the          Ata Sweilam Youssef Zo'rob    Ninth
114   01010888-      Hossam Hassan Nafe                       05/04/2001     1325.64   Sweilam Zo'rob                                                  abdomen
115   010108927      Hossam Muhammad Khalil                   05/04/2001     1325.64
116   010282798      Hossam Yousse f Raj ab                   13/09/2001     1325.64
117   01224038       Hassan [illegible] Hassan Ibrahim        22/10/2001     1325.64   Emad Hamdi          [illegible]   Gaza          26/09/2001      Bullet to the head     Hamdy Saleh Muhammad          Ninth
                     [illegible]                                                       Sal eh Awad                                                                            Awad
118   0101089-2      Hassan Abdullah [illegible]              05/04/2001     1325.64
119   010108936      Hassan Abdel Majed                       05/04/2001     1325.64
120   010108947      Hussein Muhammad Al-Qadi                 05/04/2001     1325.64
121   010198560      Hussein Muhammad Attallah Abou Habba     21/06/2001     1325.64   Maher Idris         [illegible]   Jabalia       03/10/2001      Tank artillery         Basrna Othman Khalil          Ninth
122   010108970      Hakam Abel Sael [illegible]              05/04/2001     1325.64   Ahmed Khodeir                                                                          Khodeir
123   010223504      Hekmat Taher Muhammad Abou [illegible]   27/10/2001     1325.64
124   010198544      Hammad Mousa [illegible]                 21/06/2001     1325.64
125   010109183      Hamdan Sulaiman Saada Najjar             07/04/2001     1325.64   Maher               [illegible]   Gaza          11/08/2001      Bullets to the         Muhammad Saeed Abdel          Ninth
126   010108256      Hamdan Fayez Al-Rajbi                    05/04/2001     1325.64   Muhammad                                                        abdomen and chest      Hadi [illegible]
127   010108911      Hamdi Shaker Mahmoud                     05/04/2001     1325.64   Muhammad
128   010282761      Hamdi Abdel Qader Ahmed Mansour          13/09/2001     1325.64   [illegible]
129   010108977      Hamdi Muhammad Abou Assaf                05/04/2001     1325.64   Muhammad            [illegible]   Gaza          31/07/2001      Bullet in the right    Assad Fahmy Muhammad          Ninth
130   010108912      Hamza Muhammad Mahmoud Ahmed             05/04/2001     1325.64   [illegible] Fahmy                                               arm, chest, and        [illegible]
                     Najar                                                             [illegible]                                                     abdomen
131   010109187      Hamid [illegible]                        -7/04/2001     1325.64
132   010108916      Khaled Ibrahim Abou Seif                 05/04/2001     1325.64
133   010107216      Khaled Ahmed Al-Masri                    04/04/2001     1325.64   Muhammad            [illegible]   Khan Younis   23/08/2001      Bullets to the body    Jabber Marazeek Sulaiman      Ninth
134   010108688      Khaled Hammad [illegible]                05/04/2001     1325.64   Jaber [illegible]                                                                      Zo'rob
135   010108968      Khaled Abdel Rahman Fahmy                05/04/2001     1325.64   Zo'rob
136   010108973      Khaled Abdullah Hassan                   05/04/2001     1325.64
137   010109130      Khaled Muhammad Abou [illegible]         05/04/2001     1325.64   Muhammad            [illegible]   Khan Younis   11/09/2001      Dispersing bullet to   [illegible] Mahmoud Ahined    Ninth
138   010108—        Khaled Muhammad Hammad                   -/04/2001      1325.64   Deeb Mahmoud                                                    the head               Abou [illegible]
139   0101089-       Khaled Walid Al-Basha                    05/04/2001     1325.64   Abou [illegible]
140   010108983      Khodeir Muhammad Nakhla                  05/04/2001     1325.64
141   010109015      Khalil Jamal Al-Madhoun                  05/04/2001     1325.64   Muhammad            [illegible]   Gaza          11/08/2001      Bullets to the         Fekreya Ibrahim Abd Al-       Ninth
142   010108991      Khalil Mahmoud Assad                     05/04/2001     1325.64   Ramadan                                                         abdomen and chest      Saqqa
143   010109640      Khamis Attallah [illegible]              05/04/2001     1325.64   Muhammad Al-
144   010103379      Khawla Abdel Mohsen [illegible] Ayyash   27/06/2001     1325.64   Sakka
145   010101147      [illegible] Hussein Khalil               05/04/2001     1325.64   Muhammad            [illegible]   Jabalia       18/09/2001      Tank artillery         Ramadan Muhammad              Ninth
146   010101945      [illegible]                              05/04/2001     1325.64   Ramadan                                                                                Ramadan [illegible]
147   010101031      [illegible] Rasheed Zein                 05/04/2001     1325.64   Muhammad Al-
148   01010-00-      Raed Samir Khattab                       05/04/2001     1325.64   Kadrana
149   010110-0-      Raed Faisal Al-Qadi                      07/04/2001     1325.64   Muhammad            [illegible]   Rafah         21/08/2001      Bullets to the body    Fatma Abdel Hafez Ahmed       Ninth
150   [i Ilegible]   Raed Muhammad Ramadan Salem              15/09/2001     1325.64   Sal am Jamaan                                                                          [illegible]
151   [illegible]    Radya Abdel Monem Ahmed                  07/04/2001     1325.64   [illegible]
152   [illegible]    Rami Amjad Moustafa                      05/04/2001     1325.64
       [illegible]        3/13      ABPLC189082         MR-ARA205172




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                                      Case 1:18-cv-02192-HG-PK
                                        Case 16-2119, Document 72,Document  86-24
                                                                   10/21/2016,      FiledPage180
                                                                               1891945,   04/04/22of 330
                                                                                                      Page 22 of 32 PageID
                                                                           #: 2198




No.   Form No.       Previous beneficiary                    Funding date   Sum       Name of martyr      ID No.        Govemorate    Date of death   Cause of Death         New beneficiary              installment
153   0101-2560      [illegible]                             18/04/2001     1325.64   Muhammad            [illegible]   Rafah         09/09/2001      Bullet to the          Samir Shehata Muhammad       Ninth
154   [illegible]    [illegible]                             [illegible]    1325.64   Samir Shehata                                                   abdomen                Abou Abda
155   01010905-      [illegible] Salem Awad                  05/06/2001     1325.64   Abou [illegible]
156   010109035      Rabi Adnan Muhammad                     05/0-/2001     1325.64
157   010112651      Wedad Abdel Rahman [illegible]          08/0-/2001     1325.64   Muhammad            [illegible]   Rafah         19/08/2001      Bullet 500 in the      Sobhi Ismail Abada Abou      Ninth
158   010283200      Wazzan Muhammad Abdel Latif Abu         15/09/2001     1325.64   Sobhy Ismail                                                    heart                  Azzaz
                     [illegible]                                                      Abou Azzaz
159   010322606      Rezk Eid Abel Kerim [illegible]         22/10/2001     1325.64
160   010108779      Reda Saber Youssef                      05/0-/2001     1325.64
161   010370970      Radwan Youssef Ramadan Ibrahim          22/10/2001     1325.64   [illegible]         [illegible]   Khan Younis   28/09/2001      Tank artilleiy         [illegible]                  Ninth
162   010110-26      Rafik Helal Khedr Mohsen                07/04/2001     1325.64
163   [illegible]    [illegible]                             [illegible]    1325.64
164   010109015      Riyadh Khalil [illegible]               05/04/2001     1325.64
165   010109679      Riyadh Fatthy Muhammad                  05/04/2001     1325.64   Muhammad            [illegible]   Khan Younis   28/08/2001      Dispersing bullet to   Marzouk Ibrahim Rezk         Ninth
166   010110—        [illegible] Hassan Ismail [illegible]   07/04/2001     1325.64   Marzouk Ibrahim                                                 the chest and neck     [illegible]
167   010108990      [illegible] Hussein Hassan Atta         05/04/2001     1325.64   Abou Mansour
168   010112532      Zahoeldin [illegible]                   08/04/2001     1325.64
169   010135651      Zahwa Mahmoud Muhammad A-Bahtabty       29/04/2001     1325.64   Muhammad            [illegible]   Khan Younis   15/09/2001      Dispersing bullets     Walid Mustafa Murad Al-      Ninth
170   01032-935      Zeyad Ibrahim Youssef Al-Batsh          23/10/2001     1325.64   Walid Mustafa                                                   to the head and        Dajani
171   010109052      Zeyad Salama Hassan                     05/04/2001     1325.64   Al-Dajani                                                       chest
172   010373611      Zeineldin Zayed Mustafa Al-Jamal        22/10/2001     1325.64
173   010108925      Zeinab Fayez Al-Sahloub                 05/04/2001     1325.64   Mahmoud             [illegible]   Gaza          03/10/2001      Dispersing bullets     Rajaa Hassan Mahmoud         Ninth
174   010105016      Sadi Muhammad Al-Wari                   02/04/2001     1325.64   Ibrahim Hussein                                                 to the body            [illegible]
175   010110116      Salem Hamed Sulaiman Salem              07/04/2001     1325.64   Abou Hani
176   010100067      Salem Muhammad [illegible]              05/04/2001     1325.64
177   010135078      Salem Musa Abou Shnar                   29/04/2001     1325.64   Mahmoud Jalal       [illegible]   Rafah         21/09/2001      Bullet to the head     Jalal Saeed Ahmed Keshta     Ninth
178   010109692      Salem Mustafa Weddi                     05/04/2001     1325.64   Saeed [illegible]
179   010109070      Samer Abdel Kerim Abdo                  05/04/2001     1325.64
180   010109088      Samer Fayez Fayek                       05/04/2001     1325.64
181   010105055      Samer Muhammad Al-Khadour               03/04/2001     1325.64   Mahmoud             [illegible]   Gaza          30/06/2001      Bullet in the heart    Khamis Hosni Mahmoud         Ninth
182   010109092      Sami Amin Manasra                       05/04/2001     1325.64   Khamis Radi Al-                                                                        [illegible]
183   010135083      Sami Saadi Ahmed Al-Eisi                29/04/2001     1325.64   Sawwaf
184   010109018      Sami Abdullah Bayed                     05/04/2001     1325.64
185   010109302      Saad Asaad [illegible]                  05/04/2001     1325.64   Mahmoud Omar        [illegible]   Khan Younis   22/08/2001      Dispersing bullets     Omar Ali Hamad [illegible]   Ninth
186   010101102      Saad Jamil Ahmed Nafe                   05/04/2001     1325.64   Ali [illegible]                                                 to the chest, neck
187   010323613      Saadeya Muhammad Khattab                22/10/2001     1325.64                                                                   and shoulders
188   010135111      Sofyan Raafat Fatthy Abou Ahmed         29/04/2001     1325.64
189   010109106      Sofyan Fayez Deyab                      05/04/2001     1325.64   Mahmoud Fatthi      [illegible]   Rafah         27/09/2001      Bullets in the body    Fatthy Hamdan Ahmed Al-      Ninth
190   010105086      Sal im Salem Shaheen                    0-/04/2001     1325.64   Hamdan Al-                                                                             Shaer
191   010101121      Salim Muhammad [illegible]              05/04/2001     1325.64   Shaer
192   010109124      Somaya Hussein Abou Ali                 05/04/2001     1325.64
193   010109715      Samir Saleh Mousa                       05/04/2001     1325.64   Mahmoud             [illegible]   Jabalia       02/10/2001      Tank artillery         Safeya Muhammad Khalil       Ninth
194   0103249-       Samir Muhammad [illegible]              23/10/2001     1325.64   Muhammad                                                                               [illegible]
195   010109717      Sohail Khaled Idris                     05/04/2001     1325.64   Hassan
196   010109045      Sohaila Abdel Fattah                    05/04/2001     1325.64   [illegible]
197   010109125      Seif Muhammad Al-Shayeb                 05/04/2001     1325.64   Muaaweya Ali        [illegible]   Rafah         27/09/2001      Bullet to the head     Ali Ahmed Ouda AI-Nahhal     Ninth
198   010101720      Shady Ibrahim Harb                      05/04/2001     1325.64   Ahmed Al-Nahal
199   010283-7-      Shadi Ismail [illegible] Ayyash         15/04/2001     1325.64
200   010107275      Shaher Samir Darwish [illegible]        04/04/2001     1325.64
201   010107-58      Shaher Muhammad Badran                  04/04/2001     1325.64   [illegible]         [illegible]   Gaza          20/01/2001      Dispersing bullets     Rana Ibrahim Ali Abou        Ninth
202   010101058      Shahin Sami Abdel Halim                 05/04/2001     1325.64   Mustafa Ibrahim                                                 to the head            Musa
203   0101011-5      Shehab Ahmed [illegible]                05/04/2001     1325.64   Abou Mousa
204   010109150      Saber Ahmed J aber                      05/04/2001     1325.64
       [illegible]        4/13      ABPLC189083         MR-ARA205173




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                                      Case 1:18-cv-02192-HG-PK
                                        Case 16-2119, Document 72,Document  86-24
                                                                   10/21/2016,      FiledPage181
                                                                               1891945,   04/04/22of 330
                                                                                                      Page 23 of 32 PageID
                                                                           #: 2199




No.   Form No.       Previous beneficiary                    Funding date   Sum       Name of martyr      ID No.        Govemorate    Date of death   Cause of Death         New beneficiary               installment
205   [illegible]    Saleh Zoheir Al-Madani                  15/0-/2001     1325.64   [illegible] Fawzi   [illegible]   Khan Younis   —/08/2001       Detonation of          Fawzy Salim Khalaf Kabeer     Ninth
206   [illegible]    [illegible]                             [illegible]    1325.64   Salim [illegible]                                               foreign object         and his son Zaher
207   010325087      Sobhy Fayyad Muhammad Halas             23/10/2001     1325.64
208   010107060      Sobhey Azzam Abdel Jabbar [illegible]   04/04/2001     1325.64
209   010105139      Sabry Abdel Halim [illegible]           03/04/2001     1325.64   Najm Ahmed          [illegible]   Khan Younis   09/09/2001      Tank artillery         Ahmed [illegible]             Ninth
210   01010510-      Safaa Hussan Jamjoum                    03/04/2001     1325.64   [illegible] Allah                                               shrapnel               Muhammad Abou Aasi
211   010109735      Sal ah Ali med Abou Ay man              05/04/2001     1325.64   Abou Aasi
212   010109073      Sal ah Dawood Abou Tarha                05/04/2001     1325.64
213   010183104      Diaaeldin Muhammad Hassan [illegible]   15/09/2001     1325.64   [illegible]         [illegible]   Khan Younis   23/09/2001      [illegible]            [illegible]                   Ninth
214   010109078      Diaa Salah Muhammad Abou [illegible]    05/0-/2001     1325.64
215   [illegible]    [illegible]                             [illegible]    1325.64
216   010109156      Tarek Khaled Al-Teesh                   05/04/2001     1325.64
217   01011028-      Taha Ahmed [illegible]                  07/04/2001     1325.64   Noureldin           [illegible]   Gaza          03/10/2001      Tank artillery         Muhammad Salim Hamdan         Ninth
218   010102162      Taha Hussein Anana                      05/04/2001     1325.64   Muhammad                                                                               [illegible]
219   010101746      Taha Mahmoud Ahmed Saadat               05/04/2001     1325.64   Salim [illegible]
220   010265088      Zareef Youssef Deyab [illegible]        23/10/2001     1325.64
221   010105122      Zareefa Abdel Rahman Ghaith             03/04/2001     1325.64   Hesham Morsi        [illegible]   Rafah         25/08/2001      Bullets to tire body   Musa [illegible] Sallam Abu   Ninth
222   01010908-      Aida Abdel Meguid Morshed               05/04/2001     1325.64   Kaood Abou                                                                             Jamous
223   010105158      Abed Youssef Harb [illegible]           03/04/2001     1325.64   Jamous
224   010323612      Adel Ahmed Muhammad Amr                 27/10/2001     1325.64
225   010109092      Adel Muslim Barakat                     05/04/2001     1325.64   Yehia Sobhi         [illegible]   Gaza          22/07/2001      Tank artillery         Family of martyr / Yehia      Ninth
226   010365117      Atef Abdullah Mahmoud Abou Saada        23/10/2001     1325.64   Mesbah                                                          shrapnel               Sobhi [illegible]
227   010110502      Atef Muhammad Ali Abdo                  07/04/2001     1325.64   [illegible]
228   010191842      Amer Al-Abd Muhammad Abou Jebba         23/06/2001     1325.64
229   01010909-      Amer Abdel Kerim Al-Karmi               05/04/2001     1325.64   Yehia Naser         [illegible]   Jabalia       15/09/2001      Tank artillery         Nasser Hassan Sabah           Ninth
230   010107098      Amer Atta Khalil                        0-/04/2001     1325.64   Hassan                                                                                 [illegible]
231   010110505      Aayed Abd Eissa                         07/04/2001     1325.64   [illegible]
232   010135425      Aida Ali [illegible]                    29/04/2001     1325.64
233   010107272      Abdel Rahman Muhammad Idris             04/04/2001     1325.64   Youssed             [illegible]   Al-Nosairat   08/10/2001      Bullet in the heart    Muhammad Abdel Hady Aql       Ninth
234   0101076-       Abdel Rahman Mahmoud Khalil             04/04/2001     1325.64   Muhammad                                                                               Aql
235   010107—2       Abdel Rehim Fawzi Taleb                 04/04/2001     1325.64   Abdel Hadi Aql
236   010325591      Abdel Rehim Muhammad Salem [illegible   22/10/2001     1325.64
237   010322519      Abdel Razek Muhammad Saeed Al-Baeeri    22/10/2001     1325.64   Ahmed               [illegible]   Khan Younis   13/12/2001      Bullet to the chest    Khamis Ahmed Muhammad         Tenth
238   010101192      Abdel SalamRoushdi [illegible]          05/04/2001     1325.64   [illegible]                                                                            Al-Masri
239   010109191      Abdel Salam Shawama                     05/04/2001     1325.64   Ahmed Al-Masri
240   010110512      [illegible] Maher Hafez                 07/04/2001     1325.64
241   010110512      Abdullah Muhammad Abdel Rehim           07/04/2001     1325.64   Ahmed Eid           [illegible]   Khan Younis   12/12/2001      Bullet to the head     Abd Mahmoud Muhammad          Tenth
                     Shehata                                                          Mahmoud Abou                                                                           Abou Mustafa
242   010-23619      Abdullah Muhammad Mahmoud Ali           22/10/2001     1325.64   Mustafa
                     [illegible]
243   010101181      Abd Fayez Youssef                       05/04/2001     1325.64
244   01010729-      Abd Mohsen Hanneya                      04/04/2001     1325.64
245   01028-142      Abd Muhammad Zayed                      15/04/2001     1325.64   Ahmed               [illegible]   Khan Younis   23/11/2001      Several dispersing     Abir Youssef Hammad Al-       Tenth
246   010109175      Abdel Hammed Abdel Jabbar               05/04/2001     1325.64   Muhammad                                                        bullets                Hennawi
247   0103-5093      Abdel Halim Mahmoud Salem [illegible]   23/04/2001     1325.64   Ahmed AI-
248   01010514-      Abdel Hamid Eissa Al-Asafra             03/04/2001     1325.64   Hennawi
249   010105125      Abdel Khalek Nabil [illegible]          03/04/2001     1325.64   Ahmed               [illegible]   Jabalia       15/12/2001      Bullets in the back    [illegible] Salama Abdullah   Tenth
250   010109188      Abdel Rahman [illegible]                05/04/2001     1325.64   Mahmoud                                                         and right shoulder     Al-Basyouni
251   010105225      Abdel Rahman Sofian Abou Henna          02/04/2001     1325.64   Abdullah Al-
252   010109112      Abdel Rahman Salah                      05/04/2001     1325.64   Basyoun i
253   01010—         Abdel Rahman Abdel Fattah               05/04/2001     1325.64   Ahmed Youssef       [illegible]   Al-Maghazi    20/11/2001      Bullet to the body     Youssef Sulaiman              Tenth
254   010109195      Abdel Rahman Abdel Mohdi                05/04/2001     1325.64   Sulaiman Abou                                                                          Muhammad Abou Mandeel
255   010225-00      Abdel Rahman Youssef Abdel Rahman       12/10/2001     1325.64   Mandeel
256   010325-0-      Abdel Rehim Othman Abdullah Al-Aqqad    12/10/2001     1325.64
       [illegible]        5/13    ABPLC189090        MR-ARA205180




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                                    Case 1:18-cv-02192-HG-PK
                                      Case 16-2119, Document 72,Document  86-24
                                                                 10/21/2016,      FiledPage182
                                                                             1891945,   04/04/22of 330
                                                                                                    Page 24 of 32 PageID
                                                                         #: 2200




No.   Form No.      Previous beneficiary                    Funding date   Sum       Name of martyr      ID No.        Govemorate    Date of death   Cause of Death         New beneficiary              installment
257   010-82107     Abdel Kerim Ahmed Ibrahim [illegible!   15/09/2001     1325.64   Ibrahim             [illegible]   Al-Maghazi    17/11/2001      Bullet to the          Aisha Rashed Saeed and       Tenth
258   [illegible]   [illegible]                             [illegible]    1325.64   Sulaiman Salem                                                  abdomen, died of       children of Bassam
259   010109201     Abdullah Fayez Muhammad                 05/04/2001     1325.64   [illegible]                                                     his wound              Muhammad
260   01010-122     Abdullah Ahmed Salem                    05/04/2001     1325.64
261   010109766     Abdullah Abdel Fattah                   05/04/2001     1325.64   [illegible] Jumaa   [illegible]   Gaza          08/10/2001      Tank artillery         Faddeya Salem Sulaiman Al-   Tenth
262   010105688     Abdullah Muhammad Al-Najjar             03/04/2001     1325.64   Ouda Al-                                                        shrapnel               Sawarka
263   010101186     Abdel Majed Muhammad Awad               05/04/2001     1325.64   Sawarka
264   0101050-9     Abdel Meguid Abdullah Abou Gheith       02/04/2001     1325.64
265   010225283     Abdel Hadi Ibrahim Muhammad Al-Sayyed   23/10/2001     1325.64   [illegible]         [illegible]   Gaza          20/12/2001      Tank artillery         [illegible]                  Tenth
266   010105135     Abdel Wadood Abou [illegible]           03/04/2001     1325.64                                                                   shrapnel [illegible]
267   [illegible]   [illegible]                             [illegible]    1325.64
268   010109196     Arafat Ismail [illegible]               05/04/2001     1325.64
269   010109784     Arafat Fatthy Muhammad                  05/04/2001     1325.64   Osama               [illegible]   Gaza          27/11/2001      Several bullets to     Muhammad Abdullah Salem      Tenth
270   010109228     Ezzeldin Ahmed Erfan                    05/04/2001     1325.64   Muhammad                                                        the body               Khalil
271   010109202     Azzam Rateb [illegible]                 05/04/2001     1325.64   Abdullah
272   010109390     Azmy Abdullah Hussein Arafa             05/09/2001     1325.64   [il legible]
273   010323622     Ess am Mustafa Zaki Asian               22/10/2001     1325.64   Assad               [illegible]   Gaza          15/12/2001      Bullet to the body     Muhammad Hassan              Tenth
274   010109253     Attallah Muhammad Bahbouh               05/04/2001     1325.64   Muhammad                                                                               Sulaiman Abou Ataba
275   010105291     Atta Muhammad [illegible]               02/04/2001     1325.64   Hassan Abou
276   010183148     Alaa el Din Muhammad Youssef            15/09/2001     1325.64   Ataya
                    Oudetallah
277   010107613     Alaa Ali Harrar Allah                   04/04/2001     1325.64   Al-Saeed Abdel      [illegible]   Khan Younis   12/12/2001      Air raid               Hadeya Awad Klialed Abou     Tenth
278   010109804     Alaa Ouda Muhammad                      05/04/2001     1325.64   Kerim Emara                                                                            Senna
279   010109275     Alaa Farouk Wajdi                       05/09/2001     1325.64   Abou Senna
280   01013528-     Alaa Fayez Sakhr                        —/0-/2001      1325.64
281   010109807     Alaa Muhammad Deyab                     05/04/2001     1325.64   Ismail Ahmed        [illegible]   Jabalia       17/12/2001      Bullet to the body     Maazouza Zohdi Salman        Tenth
282   010109277     Alaa Nayef [illegible]                  05/04/2001     1325.64   Ahmed Abou                                                                             Aboul Komsan
283   010101266     Alaa Nazmi [illegible]                  05/04/2001     1325.64   [illegible]
284   010283312     Alaa Youssef Hassanein                  05/04/2001     1325.64
285   010283312     Alaa Youssef Muhammad Muhammad          15/06/2001     1325.64   Akram Naeem         [illegible]   Khan Younis   22/11/2001      Explosion of a         Naeem Abdel Kerim Ouda       Tenth
286   010105-40     Ali Ahmed [illegible]                   03/04/2001     1325.64   Abdel Kerim                                                     bomb                   Al-Astal**
287   010105113     Ali Zeidan Al-Zamaara                   02/04/2001     1325.64   [illegible]
288   010109230     Ali Sherif Ali Farahat                  05/04/2001     1325.64
289   010109816     Ali Shawkat Ali                         05/04/2001     1325.64   Anis Idris          [illegible]   Khan Younis   21/11/2001      Explosion of a         Idris Muhammad Ouda Al-      Tenth
290   010110545     Ali Abdel Razek Al [illegible]          07/04/2001     1325.64   Muhammad Al-                                                    bomb                   Astal**
291   010283222     Ali Muhammad Al Abou Zayed              15/09/2001     1325.64   Astal
292   010325272     Alyan Jabr Mahmoud [illegible]          22/10/2001     1325.64
293   010109279     Emad Ahmed Manasra                      05/04/2001     1325.64   Eyad Wadee          [illegible]   Jabalia       28/10/2001      Bullets to the body    Rabie Muhammad Saleh         Tenth
294   010-25245     Emad Raj ab Abdullah Abou Hammad        22/10/2001     1325.64   Muhammad Al-                                                                           [illegible]
295   010101282     Emad Abdel Halim Abbad                  -5/-/2001      1325.64   Batsh
296   010101241     Emad Muhammad [illegible]               05/-/2001      1325.64
297   0101-5479     Omar Sulaiman Ismail [illegible]        29/-/2001      1325.64   Eyad                [illegible]   Jabalia       04/06/2001      Bullet to the pelvis   Muhammad Ibrahim             Tenth
298   01010-248     Omar Muhammad Ahmed Al-Shorbaji         05/04/2001     1325.64   Muhammad                                                                               Mahmoud Al-Sabbagh
299   010105226     Omar Sami Al-Soweiti                    03/04/2001     1325.64   Ibrahim Al-
300   010110246     Ameed Jamal Jamil [illegible]           —/—/2001       1325.64   Sabbagh
301   010109830     Awwad Adeeb Al-Malki                    05/04/2001     1325.64   Basel Salim         [illegible]   Khan Younis   19/10/2*001     Detonation of a        Salim Muhammad               Tenth
302   01011025-     Ouda Muhammad Ali Dawood                07/04/2001     1325.64   Muhammad Al-                                                    foreign object         Muhammad Al-Mobasher
303   01010-310     Eisa Kasem Eisa                         05/04/2001     1325.64   Mubasher
304   010101211     Eisa Mousa Abou Samra                   05/04/2001     1325.64
305   01032-125     Ghada Ahmed Shoeib Al-Makhasra          22/10/2001     1325.64   Tajeldin Rajab      [illegible]   Jabalia       12/12/2001      Bullet to the body     Rajab Salim Sulaiman Al-     Tenth
306   01010—        Ghaleb Ibrahim Eisa                     05/04/2001     1325.64   AI-Basri                                                                               Masri
307   010323649     Ghaled Mahmoud Sulaiman Rawashda        2-/10/2001     1325.64
308   010324025     [illegible] Ali Mahmoud Al-Mamareeq     2-/10/2001     1325.64
       [illegible]  6/13           ABPLC189085
       MR-ARA205175




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                                        Case 1:18-cv-02192-HG-PK
                                          Case 16-2119, Document 72,Document  86-24
                                                                     10/21/2016,      FiledPage183
                                                                                 1891945,   04/04/22of 330
                                                                                                        Page 25 of 32 PageID
                                                                             #: 2201




No.   Form No.       Previous beneficiary                   Funding date   Sum       Name of martyr    ID No.         Govemorate    Date of death   Cause of Death        New beneficiary                installment
309   010313-51      Ghadeer Raed Kais [illegible]          21/10/2001     1325.64   Tayseer Ahmed     [illegible]    Jabalia       26/11/2001      Detonation of a       Nevine Youssef Muhammad        Tenth
310   [illegible]    [illegible]                            [illegible]    1325.64   Mohsen                                                         foreign object        [illegible]
311   0101093-       Ghannam Afif Ghannam                   05/04/2001     1325.64   [illegible]
312   0101053-       Fatena Sherif [illegible]              03/04/2001     1325.64
313   010109809      Fadi Nour Areef                        05/04/2001     1325.64   Jehad Hamdi       [illegible]    Jabalia       12/12/2001      Bullet to the body    Hamdi Ahmed AI -Masri and      Tenth
314   010109306      Fadi Abdel Monem                       05/04/2001     1325.64   Ahmed Al-Masri                                                                       Rasmeya Hassan Al-Masri
315   010112970      Fadi Ezzat Karaja                      08/04/2001     1325.64
316   010109853      Fadi Atta Morsi                        05/04/2001     1325.64
317   01011034-      Fadi Muhammad Jamil [illegible]        07/04/2001     1325.64   [illegible]       [ill egible]   Jabalia       19/10/2001      Bullet to the chest   [illegible]                    Tenth
318   010111610      Fattheya [illegible]                   08/04/2001     1325.64
319   [ illegible]   [illegible]                            [illegible]    1325.64
320   010112-6-      Feras Salah Hassan [illegible]         08/04/2001     1325.64
321   010109320      Feras Muhammad Amin                    05/04/2001     1325.64   Habib Nayef       [illegible]    Jabalia       12/12/2001      Bullet to the body    Nayef Khamis Ismail            Tenth
322   010112-13      Feras Wadee Hassan                     08/04/2001     1325.64   Khamis Radwan                                                                        Radwan
323   010182483      Feras Youssef Muhammad Sweilam         15/09/2001     1325.64
324   010109281      Falah Rasmi Abdel Rehim                05/-/2001      1325.64
325   010109326      Fahd Ahmed Ibrahim                     05/04/2001     1325.64   Khaled Taha Eid   [illegible]    Khan Younis   05/08/2001      Bullet to the         Taha Abd Hussein Zo'rob        Tenth
326   010107415      Fahd Juma Abou Al-Jazr                 0-/04/2001     1325.64   Zo'rob                                                         abdomen
327   010112077      [illegible] Abdel Rehim Astabah        08/04/2001     1325.64
328   010112767      Fawwaz Hemy Ashtabah                   08/04/2001     1325.64
329   010322631      Fawzy Saeed Abdel Hamid [illegible]    2-/10/2001     1325.64   Khalil Abdel      [illegible]    Rafah         12/12/2001      Bullet                Abdel Fattah Khalil Ibrahim    Tenth
330   010109288      Qassem Ismail Youssef                  05/04/2001     1325.64   Fattah Khalil                                                                        [illegible]
331   010109240      Qassem Adnan Qassem                    05/04/2001     1325.64   Abou Shaweesh
332   010105458      Qadri Jamil [illegible]                02/04/2001     1325.64
333   010109228      Qadry Youssef Mustafa                  05/04/2001     1325.64   Khalil Abdel      [illegible]    Jabalia       21/12/2001      Bullet to the body    Abdel Latif Nofal Khalil Al-   Tendi
334   010112818      Qassei Juma Mahmoud Nawwaf             08/04/2001     1325.64   Latif Nofal Al-                                                                      Seefi
335   010102-18      Kamel Sulaiman Muhammad Zaki           04/04/20101    1325.64   Seefi
336   010112801      Kamel Othman Salama                    08/04/2001     1325.64
337   010905208      Kamel Muhammad [illegible]             02/04/2001     1325.64   Khalil Youssef    [illegible]    Khan Younis   29/09/2001      Bullet to the head    Youssef Ibrahim Khalil         Tenth
338   010109291      Kareem Abdel Rehi m Rashed             05/04/2001     1325.64   Ibrahim Assi                                                                         Fayyad
339   010105713      Kaffei Abel Hamid Al-Badawi            03/0-/2001     1325.64
340   010109793      Kamilia Hamdi [illegible]              05/04/2001     1325.64
341   010109648      Loai Jamil Abou Eid                    07/04/2001     1325.64   Raed Samir        [illegible]    Rafah         31/10/2001      Bullet                Samir Eyad Salim Al-Akhras     Tenth
342   010282516      Loai Mustafa Hamed                     15/09/2001     1325.64
343   010108785      Lotfi Yakoub Lotfi                     07/04/2001     1325.64
344   010109846      Luc [illegible] — Journalist           07/04/2001     1325.64
345   010283285      Laila Ahmed Abdullah Atran             15/09/2001     1325.64   Rami Salah El     [illegible]    Rafah         15/12/2001      Bullet to the head    Salaheldin Ayyoub              Tenth
346   010109659      Momen Ahmed Amer                       —/—/2001       1325.64   Din Ayyoub                                                                           Muhammad Musa Zo'rob
347   010108788      Moayed Hamdan Awwad                    07/04/2001     1325.64   Muhammad
348   010112775      Moayed Omar Ahmed [illegible]          08/04/2001     1325.64   Zo'rob
349   010101800      Maj da Saeed Othman                    —/—/2001       1325.64   Radi Muhammad     [illegible]    Gaza          28/11/2001      Several dispersing    Wafaa Ahmed Shaaban            Tenth
350   010325643      Malek Abdel Sahfi Khamis [illegible]   23/10/2001     1325.64   Shaaban                                                        bullets to the body   Mansour and Muhammad
351   010108798      Maher Mahmoud Hammad                   07/04/2001     1325.64   Man sour                                                                             Shaaban Mansour
352   010109970      Maher Naji Othman                      07/04/2001     1325.64
353   010109678      Maher Youssef Awwad                    07/04/2001     1325.64   Zakareya          [illegible]    Jabalia       15/12/2001      Bullet to the body    Hassan Mahmoud Ali             Tenth
354   010109681      Mejahed Mahmoud Youssed                07/04/2001     1325.64   [illegible]                                                                          [illegible]
355   010109866      Majdi [illegible] Abdel Qader          07/04/2001     1325.64   Mahmoud
356   010198600      Majdi Saber Salem Deeb                 21/-/2001      1325.64   [illegible]
357   010135-11      Majdi Muhammad Ahmed Al-Ghoul          29/04/2001     1325.64   Saeed Abdel       [illegible]    Khan Younis   12/12/2001      Air raid              Sabha Hassan Hassan Abou       Tenth
358   010109822      Mohsen Muhammad A 1-Ajrami             07/04/2001     1325.64   Rehim                                                                                Senna
359   010323530      Muhammad Ibrahim Adees Adees           22/10/2001     1325.64   Muhammad
360   010101188      Muhammad Ibrahim Al-Houm               07/04/2001     1325.64   Abou Senna
       [illegible]        7/13
       ABPLC189086
       M R - A R A20 5176




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                                    Case 1:18-cv-02192-HG-PK
                                      Case 16-2119, Document 72,Document  86-24
                                                                 10/21/2016,      FiledPage184
                                                                             1891945,   04/04/22of 330
                                                                                                    Page 26 of 32 PageID
                                                                         #: 2202




No.   Form No.      Previous beneficiary                   Funding date   Sum       Name of martyr      ID No.        Governorate   Date of death   Cause of Death         New beneficiary                 installment
361   010109693     Muhammad Ibraim Khalil Al-Houm         07/04/2001     1325.64   Saeed               [illegible]   Gaza          —/03/2001       Bullet to the          Muhammad Massoud                Tenth
362   [illegible]   [illegible]                            [illegible]    1325.64   Muhammad                                                        abdomen                Mustafa Abbas
363   010109876     Muhammad Ahmed Ibrahim                 07/04/2001     1325.64   Saeed Abbas
364   010125508     Muhammad Ahmed Al-Khateeb              -704/2001      1325.64
365   010109873     Muhammad Ahmed Salim                   07/04/2001     1325.64   Saeed Mahmoud       [illegible]   Gaza          15/11/2001      Bullets to the chest   Mahmoud Saeed brahim            Tenth
366   010109702     Muhammad Ahmed [illegible]             07/04/2001     1325.64   Saeed [illegible]                                                                      Abou Shemeis
367   010107211     Muhammad Ahmed [illegible]             -/04/2001      1325.64
368   010112118     Muhammad Ahmed [illegible] Marei       08/04/2001     1325.64
369   010109834     Muhammad Ahmed fillegi ble ]           07/04/2001     1325.64   [illegible]         [illegible]   Khan Younis   09/11/2001      [illegible]            [illegible]                     Tenth
370   010199942     Muhammad Ismail Ibrahim Abou Mustafa   25/0-/2001     1325.64
371   [illegible]   [illegible]                            [illegible]    1325.64
372   0101098-1     Muhammad Ismail [illegible]            07/09/2001     1325.64
373   010109888     Muhammad Bassam [illegible]            07/09/2001     1325.64   Soheil Abdel        [illegible]   Khan Younis   11/-/2001       Dispersing bullet to   Ibtsam Abdullah ] iassan        Tenth
374   01011-12-     Muhammad Tawfiq [illegible] Atteya     —/04/2001      1325.64   Rahman Hassan                                                   the head               Abou Saleh
375   010102368     Muhammad Tayseer Yaqoub Al-Aaraj       15/09/2001     1325.64   Abou Saleh
376   010101710     Muhammad Jamal Jamil [illegible]       07/04/2001     1325.64
377   010109891     Muhammad Jamal Tahi                    07/04/2001     1325.64   Shadi Ahmed         [illegible]   Jabalia       10/01/2001      Bullet to the body     Ahmed Lafi Muslim               Tenth
378   010135540     Muhammad Jawdat [illegible]            29/04/2001     1325.64   Lafi Muslim
379   010109807     Muhammad [illegible] Salaleldin        07/04/2001     1325.64
380   01037539-     Muhammad Hassan Muhammad [illegib el   23/10/2001     1325.64
381   010105505     Muhammad Hassan [illegible ]           03/04/2001     1325.64   Sakr Ahmed          [illegible]   Rafah         - /   11/2001   Dispersing bullet to   Ahmed Hammad illegible]         Tenth
382   010109897     Muhammad Hassan Ali Hassan             07/04/2001     1325.64   Hammad                                                          the head               and Zeinab Abou Saleema
383   010111751     Muhammad Khaled Ahmed Masharfa         08/04/2001     1325.64   [illegible]
384   010108841     Muhammad Khalil [illegible] Al-Salhi   07/04/2001     1325.64
385   010105511     Muhammad Rateb [illegible]             02/04/2001     1325.64   Salah Abd           [illegible]   Gaza          02/11/2001      Bullet to the chest    RajaaFayez [illegible]          Tenth
386   010375-5-     Muhammad Rezq Youssef Safi             23/10/2001     1325.64   Nazmi Al-                                                       and left hip
387   010109-09     Muhammad Zeidan Zeid                   07/04/2001     1325.64   Ghazali
388   010109871     Muhammad Saeed Al-Rasheeda             07/04/2001     1325.64
389   010109705     Muhammad Saeed Al-Najjar               07/04/2001     1325.64   De if Allah Ubaid   [illegible]   Al-Nosairat   08/10/2001      Tank artillery         Eid Abdullah Abou Atbari        Tenth
390   010108851     Muhammad Saeed Ouda                    07/04/2001     1325.64   Abdullah Abou                                                   shrapnel               and Hayat Abou Atbari
391   010105488     Muhammad Salama Rabee'I                03/04/2001     1325.64   Eteiwi
392   010324057     Muhammad Salama Awad                   22/10/2001     1325.64
393   010109875     Muhammad Salim [illegible]             07/04/2001     1325.64   Talaat Atta Fares   [illegible]   Jabalia       25/10/2001      Several bullets to     Ata Fares Ataya Jaber           Tenth
394   010109748     Muhammad Sul ai man Hemdan             07/04/2001     1325.64   Jaber                                                           the body
395   010285114     Muhammad Sulaiman Abdel Latif           16/09/2001    1325.64
396   01010732-     Muhammad Sulaiman Marzouk Abou         01/04/2001     1325.64
                    Jamous
397   010285021     Muhammad Saaban Al-Raei                16/09/2001     1325.64   Abdel Aziz          [illegible]   Jabalia       -4/12/2001      Bullet to the body     Ahmed Salem Hesham Al-          Tenth
398   010108858     Muhammad Salam Al-Jammal               07/04/2001     1325.64   Ahmed Salem                                                                            Sawarka
399   010105520     Muhammad Taha Muhammad                 02/04/2001     1325.64   Al-Sawarka
400   010109920     Muhammad [illegible]                   07/04/2001     1325.64
401   010109889     Muhammad Abbas Muhammad Abbas          07/04/2001     1325.64   Abdel Kerim         [illegible]   Jabalia       12/12/2001      Bullet to the body     Awni Muhammad Hussain           Tenth
402   010109921     Muhammad Abdel Qader Abou Al-Remeila   07/04/2001     1325.64   Auni                                                                                   Al-Ashkar
403   010112828     Muhammad Abdullah Hassan [illegible]   08/04/2001     1325.64   Muhammad Al-
404   010113147     Muhammad Abd ullah Darwish             08/04/2001     1325.64   Ashkar
405   010108875     Muhammad Abdel Raouf                   07/04/2001     1325.64   Othman              [illegible]   Jabalia       25/10/2001      Several bullets to     Olfat Jaber Saleh [illegible]   Tenth
406   010108871     Muhammad Abdel Rehim Othman            07/04/2001     1325.64   [illegible] Al-                                                 the body
407   010109815     Muhammad Abdullah Muhammad Yassin      07/04/2001     1325.64   Razfeena
408   010105577     Muhammad Adnan [illegible]             —/—/2001       1325.64
409   01010—21      Muhammad Asfour Zeid                   07/04/2001     1325.64   Ali Ibrahim         [illegible]   Khan Younis   23/12/2001      Detonation of a        Ibrahim Mahmoud Abdel           Tenth
410   010101937     Muhammad Ali Al-Haj                    07/04/2001     1325.64   Mahmoud                                                         foreign object         Salam Aashour
411   010105312     Muhammad Alyan Hejazi                  03/07/2001     1325.64   Aashour
412   010109-18     Muhammad Eisa Orabi                    07/04/2011     1325.64
       [illegible]  8/13          ABPLC189085
       MR-ARA205175




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                                     Case 1:18-cv-02192-HG-PK
                                       Case 16-2119, Document 72,Document  86-24
                                                                  10/21/2016,      FiledPage185
                                                                              1891945,   04/04/22of 330
                                                                                                     Page 27 of 32 PageID
                                                                          #: 2203




No.   Form No.      Previous beneficiary                      Funding date   Sum       Name of martyr      ID No.        Govemorate    Date of death   Cause of Death        New beneficiary               installment
413   010199909     Muhammad Farraj Muhammad [illegible]      2506/2001      1325.64   Ali Saad Ismail     [illegible]   Jabalia       16/12/2001      Bullet to the body    Saad Ismail Abd Rabbo         Tenth
414   [illegible]   [illegible]                               [illegible]    1325.64   [illegible]
415   010185038     Muhammad Fahmy Khamis [illegible]         1609/2001      1325.64
416   0101091-      Muhammad Majed Abbad                      07/04/2001     1325.64
417   010107751     Muhammad Mahmoud Abou [illegible]         09/04/2001     1325.64   Emadeldin           [illegible]   Gaza          14/12/2001      Several dispersing    Shehata Mansour [illegible]   Tenth
418   01010—-       Muhammad Mahmoud [illegible]              07/04/2001     1325.64   Shehata Mansour                                                 bullets to the body
419   010107245     Muhammad Mahmoud Muhammad Ibrahim         04/04/2001     1325.64   [illegible]
420   010105221     Muhammad [illegible]                      03/04/2001     1325.64
421   010109955     Muhammad Mustafa [illegible]              07/04/2001     1325.64   [illegible]         [illegible]   Rafah         0-/01/2001      Bullet to the head    [illegible]                   Tenth
422   010108406     Muhammad Mansour [illegible]              07/07/2001     1325.64
423   [illegible]   [illegible]                               [illegible]    1325.64
424   010109922     Muhammad Nassar Ahmed                     07/04/2001     1325.64
425   010105206     Muhammad Nassar Hamdan                    03/04/2001     1325.64   Ammar               [illegible]   Jabalia       15/12/2001      Bullet to the head    Fatma Abd Ali [illegible]     Tenth
426   010273662     Muhammad Noman Sulaiman Al-Nazer          22/10/2001     1325.64   Muhammad
427   010322532     Muhammad Yehia [illegible] Hafez Sarrar   22/10/2001     1325.64   Ramadan Al-
428   010105579     Muhammad Youssef Abou Ayyash              03/04/2001     1325.64   Ghaleez
429   010109938     Muhammad Youssef Ismail                   07/04/2001     1325.64   Omar Idris          [illegible]   Khan Younis   22/11/2001      Bomb detonation       Idris Muhammad Ouda Al-       Tenth
430   0101130-      Muhammad Younis Mahmoud Abou              08/04/2001     1325.64   Muhammad Al-                                                                          Astal**
                    Ayyash                                                             Astal
431   01010977-     Muhammad Abd [illegible]                  07/04/2001     1325.64
432   010107257     Mahmoud Ibrahim Saeed Assad               04/04/2001     1325.64
433   010110178     Mahmoud Amin Muhammad Al-Akhras           07/04/2001     1325.64   Abd Zayed           [illegible]   Gaza          16/10/2001      Bullet to the head    [illegible]                   Tenth
434   010108-77     Mahmoud [illegible] Mahmoud               07/04/2001     1325.64   Hassan Abou
435   010109-66     Mahmoud Jabr Aasi                         07/04/2001     1325.64   Sharkh
436   010285407     Mahmoud Jamal Hassan                      16/09/2001     1325.64
437   010105389     Mahmoud Hassan Abou [illegible]           02/04/2001     1325.64   Fouad Khedr         [illegible]   Gaza          22/10/2001      Detonation of a       Khedr Muhammad Abou           Tenth
438   010225487     Mahmoud KhaJil Hassan Saad                22/10/2001     1325.64   Muhammad                                                        foreign object        Sareya
439   010105281     Mahmoud Darwish AI-Aasi                   02/04/2001     1325.64   Abou [illegible]
440   0101053-      Mahmoud Ramadan Hemeidan                  02/04/2001     1325.64
441   010107263     Mahmoud Salah [illegible]                 04/04/2001     1325.64   Fouad Moustafa      [illegible]   Gaza          26/10/2001      Dispersing bullets    Mustafa Fouad Khalil Al-      Tenth
442   010108937     Mahmoud Abdullah Badr                     07/04/2001     1325.64   Fouad [illegible]                                               to various parts of   Dahshan
443   010107371     Mahmoud Muhammad Abou Samha               04/04/2001     1325.64                                                                   the body
444   010108448     Mahmoud Muhammad Shaaban                  07/04/2001     1325.64
445   010105210     Mahmoud Nassar [illegible]                03/04/2001     1325.64   Farid Salim         [illegible]   Rafah         25/10/2001      Bullet to the heart   Salim Sulaiman Abou Jalala    Tenth
446   010110465     Mahmoud Youssef Saleh Al-Zubeidi          07/04/2001     1325.64   Sulaiman Abou
447   010105606     [illegible] Al-Tawil                      03/04/2001     1325.64   Jalala
448   010110—5      Murad Muhammad Aawaj                      07/04/2001     1325.64
449   010225289     Marawan Ahmed Muhammad [illegible]        23/10/2001     1325.64   Fadl Muhammad       [illegible]   Khan Youniz   -2/11/2001      Air raid              Muhammah Ali Salem Abou       Tenth
450   010125293     Marawan Jedal Faraj Saleh                 2-/04/2001     1325.64   Ali Abou                                                                              Obaida
451   010105398     Marawan Deeb Daana                        —/04/2001      1325.64   [illegible]
452   010283271     Marawan Nasr [illegible] Taha             15/09/2001     1325.64
453   01013548-     Mariaiii Obeid Ahmed Al-Najjar            29/04/2001     1325.64   Muhammad            [illegible]   Gaza          —/12/2001       Missile shrapnel to   Ahmed Mahmoud                 Tendi
454   010112721     Meshaal Abdel Rehim Arfaeya               08/04/2001     1325.64   Ahmed                                                           the chest             Muhammad Seyam
455   010215518     Mosheer Farouk Hassan [illegible]         22/10/2001     1325.64   Mahmoud
456   010283626     Mustafa Ibrahim Abdel Qader Al-Hur        15/09/2001     1325.64   Seyam
457   0101 12746    Mustafa Dawood Abou [illegible]           08/04/2001     1325.64   Muhammad            [illegible]   Gaza          20/12/2001      Tank artillery        Hameeman Mahmoud              Tenth
458   0101 10015    Mustafa [illegible] Fawzy                 07/04/2001     1325.64   Ahmed                                                           shrapnel              Ahmed
459   010110016     Mustafa Yaqoub Shehata                    07/04/2001     1325.64   Mahmoud
460   01010—-       Mustafa Khalil [illegible]                07/04/2001     1325.64   [illegible]
461   0101081-6     Mustafa Abdullah Khaled                   07/04/2001     1325.64   Muhammad            [illegible]   Khan Younis   17/12/2001      Bullet to the chest   [illegible]                   Tenth
462   010108981     Mustafa Muhammad Saleh                    07/04/2001     1325.64   [illegible]                                                     and heart
463   010105613     Mustafa Muhammad Abdel Rahman             02/04/2001     1325.64   Mahmoud
464   010105417     Mattat Mahmoud Al-Jaaba                   02/04/2001     1325.64   Hedeik
       [illegible]  9/13           ABPLC189085
       MR-ARA205175




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                                    Case 1:18-cv-02192-HG-PK
                                      Case 16-2119, Document 72,Document  86-24
                                                                 10/21/2016,      FiledPage186
                                                                             1891945,   04/04/22of 330
                                                                                                    Page 28 of 32 PageID
                                                                         #: 2204




No.   Form No.    Previous beneficiary                      Funding date   Sum       Name of martyr       ID No.        Govemorate    Date of death   Cause of Death        New beneficiary              installment
465   010325526   Moeen Hussein Hammad Abou [illegible]     23/10/2001     1325.64   Muhammad             [illegible]   Jabalia       18/11/2001      Several dispersing    Hussein Hassan Ibrahim and   Tenth
466   010107393   Moghazi Morsi Moghazi                     04/04/2001     1325.64   Hussein Hassan                                                   shrapnel              Mervat Bakr Zeyada
467   010109003   Mamdouh Wajeeh Abdel Rahman               07/04/2001     1325.64   Ibrahim
468   010213722   Manal Muhammad Ali Aql                    15/0-/2001     1325.64
469   010109-21   Monied Khalil Ata Al-Najjar               07/04/2001     1325.64   Muhammad             [illegible]   Al-Nosairat   11/12/2001      Two bullets to the    Khalil [illegible] hamdan    Tenth
470   010110289   Monzer Abdel Ghaffar Sweidan              07/04/2001     1325.64   Khalil [illegible]                                               body                  Abou Maraheel
471   010110495   Moneir Ibrahim Mahmoud Abou [illegible]   03/04/2001     1325.64   Abou Mar ah eel
472   010103789   Mohannad Abdel Aziz [illegible]           27/0-/2001     1325.64
473   010109027   Mohammad Abdel Nasser                     07/04/2001     1325.64   [illegible]          [illegible]   [illegible]   21/12/2001      Bullet to the body    [illegible]                  Tenth
474   010110067   [illegible]                               07/04/2001     1325.64
475   010110063   Moheib Bassem Ibrahim [illegible]         07/04/2001     1325.64
476   010110021   Moheib Bassem Al-Khaldi                   07/04/2001     1325.64
477   010105022   Mousa Ibrahim Ajarma                      02/04/2001     1325.64   Muhammad             [illegible]   Khan Younis   22/11/2001      Bomb detonation       Sultan Muhammad Salem        Tenth
478   010110501   Mousa Abdel Kerim Sarsour                 07/04/2001     1325.64   Sultan                                                                                 Al-Astal
479   010105503   Mousa A1 Al-Najjar                        03/04/2001     1325.64   Muhammad Al-
480   010110091   Mousa Mahmoud Faleh Farraj                07/04/2001     1325.64   Astal
481   010110504   Nael Mashhour Refaat Sultan               07/04/2001     1325.64   Muhammad             [illegible]   Gaza          30/12/2001      Tank artillery        Abdel Rahman Ahmed           Tenth
482   010110210   Najeh Auni Hamdan                         07/04/2001     1325.64   Abdel Rahman                                                     shrapnel              Abdel Fattah Al-Madhoun
483   010107250   Nader Ahmed Taha                          04/04/2001     1325.64   Ahmed Al-
484   010110221   Nasser Jamil Nasser                       07/04/2001     1325.64   Madhoun
485   010200117   Nasser Hassan Salama Saad                 25/06/2001     1325.64   Muhammad             [illegible]   Rafah         10/01/2007      Bullet to the head    Abdel Ghani Muhammad         Tenth
486   010105470   Nafed Ahmed Abou Abed                     02/04/2001     1325.64   Abdel Ghani                                                                            [illegible] Abou Jamous
487   010110102   Nabil Hassan Nasrallah                    07/04/2001     1325.64   Muhammad
488   010105536   Nabil Muhammad [illegible]                03/04/2001     1325.64   Abou [illegible]
489   010105469   Nabila Ayoub Abou Ayyash                  03/04/2001     1325.64   Muhammad Atta        [illegible]   Al-Maghazi    12/07/2001      Detonation of a       Atta Abdel Qader Sulaiman    Tenth
490   010105479   Nedaa Essam [illegible]                   03/04/2001     1325.64   Abdel Kader                                                      foreign object        Abou Fayyad
491   010285428   Nadeem Amteer Al-Tarza                    16/09/2001     1325.64   Abou [illegible]
492   010105666   Nasr Muhammad Al-Bakri                    03/04/2001     1325.64
493   010109113   Nedal Hassan Morsi                        07/04/2001     1325.64   Muhammad             [illegible]   Gaza          14/-/2001       Bullets to the body   Muhammad Abdel Aziz          Tenth
494   010109119   Nedal Aayesh Al-Shiekh                    07/04/2001     1325.64   Mahmoud                                                          and ran over by a     Muhammad Aashour
495   010107359   Nedal Abdel Meguid Abdullah               04/04/2001     1325.64   Ibrahim Abou                                                     tank
496   010110290   Nedal Emad Atteya                         07/04/2001     1325.64   Marsa
497   010109057   Nedal Muhammad Ahmed Salama               07/04/2001     1325.64   Muhammad             [illegible]   Gaza          04/12/2001      Air raid              Khaeija Rasheed Rabei Abou   Tenth
498   01011035    Nedal Mahmoud Abdel Rehim                 07/04/2001     1325.64   Muhammad                                                                               Marsa
499   010110293   No aman Ahmed Awad                        07/04/2001     1325.64   Abdel Aziz
500   010106930   Nafrez Baraka Mejahed                     04/04/2001     1325.64   Aashour
501   010110296   Nahda Sofyan Zeid                         07/04/2001     1325.64   Muhammad             [illegible]   Jabalia       18/06/2001      Bullet to the body    Mahmoud Eisa Mahmoud         Tenth
502   0101101-1   Nahda Shaaban [illegible]                 07/04/2001     1325.64   Mahmoud Eisa                                                                           Salah
503   010101157   Nour Muhammad Hamdan                      07/04/2001     1325.64   Salah
504   010106177   Hashem Ibrahim Heidar                     0-/04/2001     1325.64
505   010110317   Hashem Kamel Eid                          07/04/2001     1325.64   Muhammad             [illegible]   Khan Younis   22/11/2001      Bomb detonation       Naeem Abdel Kerim Ouda       Tenth
506   01011274-   Hashem Younes [illegible]                 08/04/2001     1325.64   Naeem Abdel                                                                            Al-Astal**
507   010107487   Hani Sulaiman Abou Alyan                  04/04/2001     1325.64   Kerin Al-Astal
508   010109076   Hani Adel [illegible]                     07/04/2001     1325.64
509   010110335   Hani Abdullah Qassem [illegible]          07/04/2001     1325.64   Mahmoud Abdel        [illegible]   Jabalia       13/12/2001      Bullet to the body    Abdel Rahman Hassan          Tenth
510   010325447   Hani Abdel Kerim Abdel Jawwad             23/10/2001     1325.64   Rahman Hassan                                                                          Abdel Qader [illegible]
511   01—0328     Hani Arafat Farid [illegible]             07/04/2001     1325.64   [illegible]
512   010112787   Hani Muhammad Zeighan                     08/04/2001     1325.64
513   010101173   Hani Mahmoud Morsi                        07/04/2001     1325.64   Med hat              [illegible]   Al-Nosairat   20/11/2001      Missile bombing       Kefah Ali Sayed Abou Dalai   Tenth
514   01010-8-8   Heba Ismail Shaheen                       04/04/2001     1325.64   [illegible]                                                                            and Aziz Muhammad Abou
515   01132-065   Hod a Ahmed Abdel Fattah Awad             21/10/2001     1325.64   Muhammad                                                                               Dalai
516   010112773   [illegible] Jalal Abou Zalata             08/0-/2001     1325.64   Abou Dalai
      [illegible]        10/13
      ABPLC189089
      M R - A R A20 5179




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                                       Case 1:18-cv-02192-HG-PK
                                         Case 16-2119, Document 72,Document  86-24
                                                                    10/21/2016,      FiledPage187
                                                                                1891945,   04/04/22of 330
                                                                                                       Page 29 of 32 PageID
                                                                            #: 2205




No.   Form No.       Previo us beneficiary                   Funding date   Sum       Name of martyr        ID No.         Govemorate   Date of death   Cause of Death          New beneficiary               installment
517   010106156      Hanaa Kamal [illegible]                 04/04/2001     1325.64   Saad Abd Rabbo        [illegible]    Rafah        15/12/2001      Bullets to the body     Abd Rabbo Muahmmad            Tenth
518   010110742      [illegible] Abdel Rahman Hassanein      07/04/2001     1325.64   Muhammad                                                                                  Mahmoud Dawood
519   010110119      Heidar Mahmoud [illegible]              07/04/2001     1325.64   Dawood
520   010373646      Heira Mosleh Salah Abou Hameed          2-/10/2001     1325.64
521   010325463      Wael Zamel [illegible] Al-Waheedi       23/10/2001     1325.64   [illegible]           [illegible]    Rafah        07/11/2001      Bullet to the head      Aleya Ata Muhammad            Tenth
522   010108084      Wesam Saeed Hussein                     07/04/2001     1325.64   Muhammad                                                                                  [illegible]
523   010110227      Wafaa Abdel Hamid Mansour               07/04/2001     1325.64   [illegible]
524   010106882      Walaa Faisal Al-Rahmi                   04/04/2001     1325.64
525   [illegible]    [illegible]                             [illegible]    1325.64   Named [illegible]     [illegible]    Gaza         02/10/2001      Bullet to [illegible]   [illegible]                   Tenth
526   01010-3-       Walid Assad Ibrahim Al-Jabbareen        22/06/2001     1325.64   Abdel Rahman
527   010374037      Yasser Abdel Kerim Abou Dawood          22/10/2001     1325.64   [illegible]
528   010215108      Yasser Abdullah Abdullah                22/10/2001     1325.64
529   010100766      Yasser Muhammad Saeed Al-Zereiei        15/0-/2001     1325.64   Nedal Taleb Rajab     [illegible]    Gaza         21/10/2001      Shrapnel in the         Taleb Rajab Muhatafa          Tenth
530   010107413      Yehia Ibrahim Abou [illegible]          04/04/2001     1325.64   [illegible]                                                       body                    [illegible]
531   010315-04      Yehia Ahmed Sal am Saeed                23/10/2001     1325.64
532   010700269      Yehia Atteya Awadalla Al-Azzazi         25/06/2001     1325.64
533   010110366      Yehia Muhammad Yehia Ghersi             07/04/2001     1325.64   Wael Fouad            [illegible]    Deir El      02/10/2001      Several dispersing      [illegible]                   Tenth
534   010106991      Yehia Mahmoud [illegible]               04/04/2001     1325.64   Muhammad                             Balah                        bullets to the body
535   010783567      Yosri Hussein Ali [illegible]           15/09/2001     1325.64   Awwad
536   010116671      Yosri Muhammad Omran                    -3/06/2001     1325.64
537   010110577      [illegible] Salah [illegible] Othman    07/04/2001     1325.64   Wesam Majdi           [illegible]    Khan         22/12/2001      Air raid                Hannan Abd Mustafa            Tenth
538   010110427      Youssef Anwar Atta                      07/04/2001     1325.64   Mansour Mohareb                      Younis                                               Muhamreb
539   010107115      Youssef Hassan Abou Fanous              04/04/2001     1325.64
540   010410440      Youssef Shaaban Abdel Jawwad            07/04/2001     1325.64
541   010110442      Youssef Abdel Rahman Othman             07/04/2001     1325.64   Yasser H ass am       [illegible]    Khan         12/12/2001      Air raid                Hassan Muhammad Salman        Tenth
542   010110420      Youssef Abdel Ghani Al-Khateeb          07/04/2001     1325.64   Muhammad                             Younis                                               Abou Namous
543   010110214      Youssef Mousa Gohar                     07/04/2001     1325.64   [illegible]
544   010110428      Youssef Mousa Muhammad                  07/04/2001     1325.64
545   010107581      Youssef Yassi r Yass in                 04/04/2001     1325.64   Youssef Shawki        [illegible]    Jabalia      12/12/2001      Bullet to the body      Shawky Muhammad Ahmed         Tenth
546   010110247      Younes Mustafa Al-Harbi                 07/04/2001     1325.64   Muhammad Al-                                                                              Al-Nahar
547   010327205      Ibrahim Sulaiman Ahmed Abdel Qader      24/10/2001     2655.78   Najjar
548   010227128      Ibrahim Mousa Salama                    24/10/2001     2655.78   Ibrahim Ali           [illegible]    Jenin Camp   -/12/2001       Hitting by tank         Ali Youssef Fayed Fayed       Eighth
549   0103-7171      Ahmed Ibrahim Saad Ibrahim Ouda         24/10/2001     2655.78   Youssef Fayed                                                     artillery
550   010327318      Ahmed Ahmed Salah                       24/10/2001     2655.78   Ibrahim Youssef       [illegible]    Nablus       11/28/2001      Run over by settler     [illegible] Ahmed Mustafa     Eighth
551   010268327      Ahmed Ismail Nabhan                     30/08/2001     2655.78   Mousa Hanafi                                                                              Hefni
552   010327176      Ahmed Jamil Abdel Jehl                  24/10/2001     2655.78   Ahmed Ibrahim         [ illegible]   Bethlehem    10/16/2001      Stabbed by settler      Ibrahim Ouda Oweida           Eighth
553   010217137      Ahmed Hameed Seif                       24/10/2001     2655.78   [illegible]                                                                               [illegible]
554   010327183      Ahmed Dawood Bani Ouda                  24/10/2001     2655.78   Ahmed Hassan          [illegible]    Nablus       10/15/2001      Car bombing             [illegible] Ata [illegible]   Eighth
555   010—7102       Ahmed Saleh Al-Khateeb                  24/10/2001     2655.78   [illegible]
556   01020382-      Ahmed Abdel Halim Salah and companies   27/0-/2001     2655.78   Ahmed [illegible]     [illegible]    Tulkarm      12/9/2001       Assassination           Sameeh Ahmed Ibrahim          Eighth
557   010327355      Ahmed Abdel Kerim Ahmed [illegible]     24/10/2001     2655.78                                                                                             [illegible]
558   010327152      Ahmed Ali Ahmed [illegible]             2-/10/2001     2655.78   Ahmed Abdel           [illegible]    Tripoli      10/13/2001      Martyr operation        Abdel Monem Ahmed             Eighth
559   010327380      Ahmed Mahmoud [illegible]               -/10/2001      2655.78   Monem Ahmed                                                                               Medraj Baraama
560   010327515      Adeeb Fawzy [illegible]                 2-/10/2001     2655.78   Idris Fayez           [illegible]    Hebron       9/1/2001        Armed combat            Fayez Muhammad Rajab          Eighth
561   010118340      [illegible] Aayesh [illegible]          30/08/2001     2655.78   Muhammad Rajab                                                                            Aashour
                                                                                      Aashour
562   010138215      Amna Abo u Kweik                        30/04/2001     2655.78   Assad Abdel           [illegible]    Tulkann      1/12/2001       Bombing                 Abdel Rahman [illegible]      Eighth
563   010327174      Amna Khaled Hamed Besharat              24/10/2001     2655.78   Rahman Assad
564   010325831      Amira Ahmed Saleh Abou Aram an          29/08/2001     2655.78   Assad Mustafa         [illegible]    Hebron       12/14/2001      Combat                  [illegible]                   Eighth
565   010288422      Eyad [illegible] Muhammad Jarada        30/08/2001     2655.78   Abdel Razek Abu
                                                                                      Torky
566   0102655-       Eyad Abdel Moneim Abou Shabha           —/08/2001      2655.78   Ismail Abdel Hadi     [illegible]    Jaljoul      9/18/2001       Shooting at car         Shadeya Wael Youssef          Eighth
567   010—7 W-       Ayman Assad Fayyad [illegible]          24/10/2001     2655.78   Ramadan [illegible]                                                                       [illegible]
568   010327514      Bassam Muhammad Abdel Kerim             21/10/2001     2655.78   Ashraf Muhammad       [illegible]    Nablus       8/8/2001        Martyr operation        Muhammad Sobhi Mahmoud        Eighth
                     [Illegible]                                                      Sobhi Mahmoud                                                                             Ahmed Selim
569   010327240      Bashar Mahmoud Youssef [illegible]      24/10/2001     2655.78   [illegible]
       [illegible]         11/13     ABPLC189090          MR-ARA205180




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                                       Case 1:18-cv-02192-HG-PK
                                         Case 16-2119, Document 72,Document  86-24
                                                                    10/21/2016,      FiledPage188
                                                                                1891945,   04/04/22of 330
                                                                                                       Page 30 of 32 PageID
                                                                            #: 2206




No.   Form No.       Previous beneficiary                        Funding date   Sum       Name of martyr                ID No.        Govemorate     Date of death   Cause of Death     New beneficiaiy       installment
570   010327095      Basher Mahmoud Hamdan                       24/10/2001     2655.78   Imam Muhammad [illegible]     [illegible]   Hebron         2/28/2001       Head injury        [illegible]           Eighth
571   010327569      Belal Jaber Deeb                            24/10/2001     2655.78   Abdel Salam Al-Sherif
572   010327248      Tahseen Abdel Fattah [illegible] Besharat   24/10/2001     2655.78   Amjad Ibrahim Mahmoud Al-     [illegible]   Hebron         10/6/2001       Bullet to the      Ibrahim Mahmoud       Eighth
573   010327577      Tammam Youssef Abdelmoati Abu Rayyan        24/10/2001     2655.78   Qawasmi                                                                    head               Muhammad
574   010327960      Jamil Khalil Saad Ouda                      24/10/2001     2655.78   Amjad Majed Mustafa Jamal     [illegible]   Hebron         9/3/2001        Armed combat       Nadra Muhammad        Eighth
575   010327625      Jehad [illegible] Mahmoud Besharat          24/10/2001     2655.78                                                                                                 Naeem Al-J amal
576   010268584      Jehad Saleh Abdel Malek                     30/08/2001     2655.78   Eyad Sulaiman Muhammad        [illegible]   Jenin Camp     9/12/2001       Tank artillery     Sobheya Assan         Eighth
577   [illegible]    [illegible]                                 22/10/2001     2655.78   [illegible]                                                                                   [illegible]
578   010327276      Hussein Moustafa Mahmoud [illegible]        [illegible]    2655.78   [illegible]                   [illegible]   [illegible]                    shooting           Faten Hassan          Eighth
579   010—039        Hamza Darwish [illegible]                   30/08/2001     2655.78                                                                                                 Abdel Qader Ali
580   010327754      Khaled Hamed Ouda                           24/10/2001     2655.78   Eyad Muhammad Fawzi           [illegible]   Jenin          11/10/2000      Live bullets to    Lobna [illegible]     Eighth
581   01070323       Khaled Noaman Karaja                        25/06/2001     2655.78   [illegible]                                                                the head           Talal [illegible]
582   01021567-      Khetam Riyadh Aashour Hanno ush             29/08/2001     2655.78   Eyad Muhammad Fatthy          [illegible]   Hebron         10/05/2001      Bombing            R ana Heme id an      Eighth
583   010327719      Khalil Ibrahim Khalil [illegible]           21/10/2001     2655.78   Abdel Mohie [illegible]                                                                       Abdel Aziz
584   010—7161       Khalil Dawood Muhammad Al-Daba              01/09/2001     2655.78   Ayman Rasheed Mahmoud         [illegible]   Nablus         11/22/2001      Air bomb ing /     Lobna Hafez           Eighth
585   010327731      Dawood Muhammad Saleh Al-Khateeb            24/10/2001     2655.78   [illegible]                                                                assassination      Saeed [illegible]
586   010327743      Deyab Abdel Salant                          24/10/2001     2655.78   Ayman Adnan Muhammad          [illegible]   Nablus         10/22/2001      Car bombing        Razan Hosni           Eighth
587   010200270      Rasmeya Muhammad Mustafa [illegible]        25/06/2001     2655.78   Halawa                                                                                        Helmy Halawa
588   010267292      Zayed Rezk Al-Ebeid                         01/09/2001     2655.78   Ayman Fayek Ahmed Al-         [illegible]   Tulkarm        10/24/2001      Assassination      Ah lam Nayef          Eighth
589   010267353      Zayed Fayez Sulaiman [illegible]            01/09/2001     2655.78   Jallad                                                                                        Nayef Al-Jallad
590   010327892      Zareeka Sherif Kettani                      24/10/2001     2655.78   Badr Mahmoud Ahmed Al -       [illegible]   Tulkarm        10/23/2001      Missile            Feryal Tawfiq         Eighth
591   010327846      Salem Mahmoud Abou Zahr                     24/10/2001     2655.78   Shaer                                                                      bombing            Khalil Al-Shaer
592   010203863      Samer [illegible]                           27/06/2001     2655.78   Borhan Muhammad Ibrahim       [illegible]   Hebron         12/10/2001      Missile            [illegible]           Eighth
593   010327848      SamerWadee Abdel Razek [illegible]          29/10/2001     2655.78   [illegible]                                                                bombing
594   010327911      Saeed Taleb Hassan Al-Kark                  24/10/2001     2655.78   Belqais Ahmed Tawfiq Aarda    [illegible]   Araba          8/12/2001       Air raid           Ahmed Tawfiq          Eighth
595   010172280      Saeed Abd Rabboh Abou Haf                   01/09/2001     2655.78                                                                                                 Ahmed Aarda
596   010227526      Saeed Muhammad Abdel Rehim Besharat         24/10/2001     2655.78   Tawfiq Ibrahim Hussein Zeid   [illegible]   [illegible]    9/12/2001       Helicopter         Amna Mahmoud          Eighth
597   010267948      Sal im Awwad Sulaiman Abou Namous           01/09/2001     2655.78                                                                              assassination      [illegible]
598   0103279-       Salim Mahmoud Hamad [illegible]             24/10/2001     2655.78   Thaer Mohsen [illegible]      [illegible]   [illegible]    -/12/2001       Airraid and        Fatma Hussein Al      Eighth
599   010317813      Salim Mahmoud Muhammad Besharat             24/10/2001     2655.78                                                                              assassination      Al-Qayed
600   010327924      Sulaiman Dawood Muhammad Salah              24/10/2001     2655.78   Jamal Hassan [illegible]      [illegible]   Seifit         11/06/2001      shooting           Hassan Khedr          Eighth
601   010267481      Sameeh Abd Muhammad Jaarour                 01/09/2001     2655.78                                                                                                 Mustafa [illegible]
602   010327541      Samir Antouan Dawood Al-Saqqa               24/10/2001     2655.78   Hama A bdullah [illegible]    [illegible]   Bethlehem      10/18/2001      Assassination      Mervat Amin           Eighth
603   010327872      Shahd Awad Hassan [illegible]               24/10/2001     2655.78                                                                                                 Muhammad
604   010327555      Saleh Rasheed [illegible] Ouda              24/10/2001     2655.78   Jamil Ham mad [illegible]     [illegible]   [illegible]    12/20/2001      Combat             Lat ifa Ahmed         Eighth
605   010327578      Atef Murad Youssef Karaja                   24/10/2001     2655.78   Abou El wan                                                                                   Salama Abu Atran
606   010327928      Abdullah Mahmoud Amin Etab                  24/10/2001     2655.78   Jamil [illegible] Jadalla     [illegible]   Bethlehem      10/31/2001      Missile to the     Mounir                Eighth
607   010—7568       Abd Rezq [illegible]                        01/02/2001     2655.78   Khalifa                                                                    house              Muhammad
                                                                                                                                                                                        Jadalla Youssef
608   010118136      Abdel Aziz Abdel Qader Abdel Aziz           01/09/2001     2655.78   Youssef Muhammad              [illegible]   Bethlehem      10/22/2001      In a mission in    Ghada Ibrahim         Tenth
609   010327598      Abdel Fattah Mahmoud Youssef [illegible]    20/10/2001     2655.78   Mahmoud Eleish                              [ll legible]                   Jerusalem          Saeed Ayyash
610   010115114      Abdel Qader Hamdan Jumaa Abd                0-/0-/2001     2655.78   Hatem Yassin Ayesh            [illegible]   Hebron         11/04/2001      French Hill        Kawthar Hussein       Eighth
611   0103-790-      Abdel Latif Abdel Khalek                    24/10/2001     2655.78   [illegible]                                                                Operation          Khalil [illegible]
612   010327900      Abdel Monem Eisa Awad [illegible]           24/10/2001     2655.78   Hazem Abdel Meguid            [illegible]   Hebron         10/05/2001      Bombing            Abir Abdel Qader      Eighth
613   010327920      Ezzeldin Muhammad Noueldin [illegible]      2-/10/2001     2655.78   [illegible] Amr                                                                               [illegible] Omar
614   010328052      Azab Othman Nassar Othman                   2-/10/2001     2655.78   Harees Amin [illegible]       [illegible]   Nablus         10/24/2001                         Abir Muhammad         Eighth
615   010203634      [illegible] Muhammad Abou Zanad             27/06/2001     2655.78                                                                                                 Saeed Salim Hojja
616   010320058      Essmat Maamoun Ibrahim                      25/10/2001     2655.78   Hassan Tayseer Muhammad       [illegible]   Nablus         11/22/2001      Assassination at   [i llegible]          Eighth
617   010—71         Ali Hassan Ali Sarsour                      01/09/2001     2655.78   Zubaidi                                                                    Hamwa Block
618   0103-8062      Ali Radwan Abou Rayyan                      24/10/2001     2655.78   Hassan Khalil Aaref Hassan    [illegible]   Tulkarm        10/25/2001      Armed combat       Elham Youssed         Eighth
619   0103280-       Emad Hamdi Youssef Zein                     2-/10/2001     2655.78   [illegible]                                                                                   Muahmmad Deif
620   010327-99      Omar Ahmed Omar Umran                       24/10/2001     2655.78   Hosni Mustafa Musa Abou       [illegible]   Nablus         9/20/2001       Firing at a        Mustafa Musa          Eighth
621   010267526      Awad Sulaiman Saleh Aboul Kheir             01/09/2001     2655.78   Leil                                                                       public car         Hussein [illegible]
622   0103276-       Eisa Mousa Muhammad [illegible]             21/10/2001     2655.78   Hakam Jamal [illegible]       [illegible]   Nablus         8/22/2001       Armed combat       Jamal [illegible]     Eighth
623   010327381      Fares Fayez Daraghma                        24/10/2001     2655.78
       [illegible]         12/13     ABPLC189090         MR-ARA205180




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                                       Case 1:18-cv-02192-HG-PK
                                         Case 16-2119, Document 72,Document  86-24
                                                                    10/21/2016,      FiledPage189
                                                                                1891945,   04/04/22of 330
                                                                                                       Page 31 of 32 PageID
                                                                            #: 2207




No.   Form No.       Previous beneficiary                       Funding date   Sum       Name of martyr                    ID No.         Governorate   Date of death     Cause of Death         New beneficiary     installment
624   010185752      Farouk [illegible] Al-Batsh Al-Husseini    —/06/2001      2655.78   Hamza Ibrahim Salem Al-           [illegible]    Hebron        10/6/2001         Bullet to the neck     Ibrahim Salem       Eighth
625   010268—        Fatma Muhammad Abou [illegible]            01/09/2001     2655.78   Fawansi                                                                          and chest              [illegible]
626   010267853      Fayez Hassan Hussein with Salim Hameed     --/09/2001     2655.78   Haidar [illegible] Abdel Jabbar   [illegible]    Jerusalem     8/21/2001         Armed assault by       Ayat Ahmed          Eighth
                     Hamad                                                               Kanaan                                           [illegible]                     settlers               Yaqoub Kannan
627   010-28073      Fayez Abd Mosleh Ghannam                   2-/10/2001     2655.78
628   010327390      Fatthy Youssef Ahmed Besharat              24/10/2001     2655.78   Khaled Sobhi Ali Sanjak           [illegible]    Tulkarm       12/3/2001         Armed combat           Sobhi Ali           Eighth
629   010202886      Faraj [illegible] Abdo                     —/06/2001      2655.78                                                                                                           Massoud Sanjak
630   010267583      Fawwaz Hashem Saher Al-Beitar              01/01/2001     2655.78   Khadra Ahmed Hussein Abou         [illegible]    [illegible]   10/2/2000         Gas suffocation        Montaha Abdel       Eighth
631   [illegible]    [illegible]                                -/10/2001      2655.78   Salama                                                                                                  Rahman Sadek
632   010318010      Muhammad Khalil Muhammad Abu Nassar        —/10/2001      2655.78   Khattab Abdel Fattah              [illegible]    [illegible]                      [illegible]           Sawsan              Eighth
633   010-28001      Muhammad Ibrahim Abd Mahmoud Omra          24/10/2001     2655.78   [illegible]                                                                                             [illegible] Saleh
634   010328001      Muhammad Abou Yaqoub                       24/10/2001     2655.78   Khalil Abdel Halim Nasser         [illegible]    Nablus        -/30/2001         Shooting a public      Elham Ahmed         Eighth
635   010267413      Muhammad Ahmed Hussein Abou Zemila         -/10/2001      2655.78   Nasser                                                                           car                    Ibrahim Naser
636   010167409      Muhammad Ahmed Abdel Qader [illegible]     --/—/2001      2655.78   Youssef Muhammad Ali              [illegible]    Jenin Camp    10/30/200       « Martyr operation       Muhammad Ali        Tenth
637   010268214      Muhammad Al-Said Ramadan Jeneid            —/—/2001       2655.78   [illegible]                                                                      at [illegible]         [illegible]
638   010328175      Muhammad Hamed Ahmed Besharat              24/10/2001     2655.78   Dawood Saleh Abdel Ghani          [illegible]    Tulkarm       8/30/2001         Armed combat           Azhar Hussein       Eighth
639   010368014      Muhammad Hamed Muhammad Besharat           29/10/2001     2655.78   Nasari                                                                                                  Marei [illegible]
640   010327664      Muhammad Hassan Ahmed Ouda                 24/10/2001     2655.78   Dawood Ali Ahmed Saad             [illegible]    Bethlehem     12/5/2001         Martyr operation       Fatma Ismail        Eighth
641   010327668      Muhammad Hussein Saleh Bani Ouda           24/10/2001     2655.78                                                                                                           Ahmed Saad
642   010328177      Muhammad Hassan Ali Al-Khateib             24/10/2001     2655.78   Raafat Ibrahim Khalaf             [illegible]    Bethlehem     11/3/2001         Assassination          Ibrahi m Khalaf     Eighth
643   010-03895      Muhammad Hameed Muhammad Al-Seif &         27/06/2001     2655.78   [illegible]                                                                                             Jumaa [illegible]
                     Co.
644   010328012      Muhammad Rafiq Besharat                    24/10/2001     2655.78   Raafat Muhammad Hemeidan          [illegible]    Jerusalem     9/13/2001         Shooting at car        Ehsan Ahmed         Eighth
645   010328025      Muhammad [illegible] Muhammad Mos bah      20/10/2001     2655.78   Hemeidan                                                                                                Abdel Hadi
646   010328018      Muhammad Taher Amr                         24/10/2001     2655.78   Raed Bahjat Al-Sherif             [illegible]    Hebron        10/7/2001         Bombing                Wafaa Saeed         Eighth
647   010—3647       Muhammad Abdel Jabbar Ibrahim Seif         27/06/2001     2655.78                                                                                                           Sobh Sharif
648   010328187      Muhammad Affef Abdel Halim Zein            24/10/2001     2655.78   Raed Nabil [illegible] Jabr       [illegi ble]   Ramallah      9/4/2001           Martyr operation      Nabil Ibrahim       Eighth
649   0102280-6      Muhammad Mahmoud Al-Barbarawi              24/10/2001     2655.78                                                                                                           Saleh [illegible]
650   010328192      Muhammad Mahmoud [illegible] Abd           24/10/2001     2655.78   Raed Youssef Ahmed Abou           [illegible]    Hebron        10/5/2001          Bombing               Naeem Abdel         Eighth
651   010—7702       Muhammad Mahmoud Ali Taleb                 24/10/2001     2655.78   Dawood                                                                                                  Rehim Abu
652   010228193      Muhammad Massoud Mahmod [illegible]        24/10/2001     2655.78   Rami Mahmoud Musa                 [illegible]    [illegible]   12/3/2001          Bullet to the head    Mahmoud Morsi       Eighth
653   010205625      Muhammad Mustafa Saeed [illegible]         28/06/2001     2655.78   [illegible]                                                                                             Sulaiman As'us
654   010205561      Muhammad Youssef Abdel Fattah & Co         28/06/2001     2655.78   RaniaBasri [illegible]            [illegible]    Beit Jala     10/10/2001        Bullet to the chest    Naeem George        Eighth
655   010267338      Mahmoud Ahmed Nafe Abou Aabed              01/09/2001     2655.78                                                                                                           Hanna [illegible]
656   010228050      Mahmoud Hassan Mustafa [illegible]         24/10/2001     2655.78   Rebhi Mahmoud Ahmed Al-           [illegible]    Hebron        9/11/2001         Bullets to the         Samiha Ibrahim      Eighth
657   010327717      Mahmoud Khalil Muhammad [illegible]        24/10/2001     2655.78   Bayed                                                                            chest                  Abdel Aziz Bayd
658   010228012      Mahmoud Latif Bani Ouda                    24/10/2001     2655.78   Rabei Muhammad Saeed              [illegible]    [illegible]   10/31/2001        Liquidation and        Muhammad            Eighth
659   010267592      Mariam Ahmed Salim Sarsour                 —/—/2001       2655.78   Ghannam                                                                          assassination          Saeed Hassan
660   010328055      Man am Mahmoud Hemdan                      24/10/2001     2655.78   Rajaa Saleh Mahmoud Freihat       [illegible]    Jenin Camp    9/12/2001         Tank artillery         Samir Hashem        Eighth
661   010327104      Mosbah Hassan Al-Atrash                    24/10/2001     2655.78                                                                                                           Khalil Seleit
662   010268011      Mustafa Dawood Muhammad [illegible]        01/09/2001     2655.78   Rashad Abdel Rahman Saleh         [illegible]    Tulkarm       10/29/2001        Assassination at       Kadri Ragheb        Eighth
663   010327130      Mustafa Abdel Razek Muhammad Ahmed         25/10/2001     2655.78   Molhem                                                                           Hamra Block            Saeed [illegible]
664   010327231      Maarouf Moustafa [illegible]               24/10/2001     2655.78   Reham Nabil Younis Ward           [illegible]    Jenin         10/20/2001        Air raid on school     Nabil Younis        Eighth
665   010205976      [illegible] Abdel Rahman Yaqoub Al-Hajji   —/09/2001      2655.78                                                                                                           Mustafa Ward
666   010447501      Mousa Ali Ahmed Mousa                      24/10/2001     2655.78   Riyadh Naji Mahmoud Abou          [illegible]    Hebron        9/28/2001         Armed combat           Amani [illegible]   Eighth
667   010228791      Mousa Youssef Massoud Abou Zour            30/08/2001     2655.78   Zein a
668   010327270      Hashem Abd Muhammad Qassem                 24/10/2001     2655.78   Zaher Fawzy Mahmoud Abdel         [illegible]    Nablus        8/22/2001         Armed combat           Fawzi Mahmoud       Eighth
669   010327211      Hani Ahmed [illegible]                     25/10/2001     2655.78   Ghani                                                                                                   Ahmed Abdel
670   01021—79       Hani [illegible] Muhammad Abou Hani        30/08/2001     2655.78   Saed Abdel Qader Jabr             [illegible]    Selfit        10/11/2001        Bullets to the         Aisha Bassam        Eighth
671   010317246      Heirs of Ahmed Ham mad Ouda                -/10/2001      2655.78   [illegible]                                                                      chest                  Muhammad
672   010-68531      Heirs of Sulaian Salim Barhoum             30/08/2001     2655.78   Samer Omar Ahmed Assad            [illegible]    Jenin         11/29/2001        Martyr operation       Nader Omar          Eighth
673   010227602      Heirs of Mahmoud Abdel Rahman Nasser       -/10/2001      2655.78                                                                                                           Ahmed Asaad
674   010327261      Heirs of Maarei Waheed Abd Ismail          24/10/2001     2655.78   Samer Youssef Hassan              [illegible]    [illegible]   10/20/2001         Bullet to the chest   [illegible]         Eighth
675   010327588      Yasser Khalil Saleh Halabi                 24/10/2001     2655.78   [illegible]
676   010327002      Youssef Saeed Abdullah [illegible]         24/10/2001     2655.78   Saeed Abdel Fattah Saeed          [illegible]    Tulkarm       12/1/2001         Assassination          Salam Khairi        Eighth
677   010105114      Youssef Mustafa Ali Seif                   28/06/2001     2655.78   [illegible]                                                                                             Salem Dweidi
       [illegible]         13/13    ABPLC189090         MR-ARA205180




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Case Case 1:18-cv-02192-HG-PK
     16-2119,                     Document
              Document 72, 10/21/2016,      86-24Page190
                                       1891945,     Filed 04/04/22
                                                          of 330     Page 32 of 32 PageID
                                           #: 2208




                          PXG3G6.pdf




                                                           JA1060
